                  ORAL ARGUMENT NOT YET SCHEDULED

                                   Nos. 25-5150, 25-5151

               IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                   RADIO FREE ASIA,
                                   Plaintiff-Appellee,
                                            v.
                           UNITED STATES OF AMERICA, ET AL.,
                                Defendants-Appellants,

                    MIDDLE EAST BROADCASTING NETWORKS, INC.,
                                Plaintiff-Appellee,
                                         v.
                        UNITED STATES OF AMERICA, ET AL.,
                             Defendants-Appellants,

                  On Appeal from the United States District Court
                            for the District of Columbia
                             Nos. 25-cv-907, 25-cv-966
                  The Hon. Royce C. Lamberth, U.S. District Judge

          EMERGENCY PETITION FOR REHEARING EN BANC

Kristin Bateman*                                        Donald B. Verrilli, Jr.
Jennifer Fountain Connolly                              Ginger D. Anders
Robin F. Thurston                                       Jeremy S. Kreisberg
                                                        Helen E. White
Skye L. Perryman                                        Esthena L. Barlow
DEMOCRACY FORWARD FOUNDATION                            MUNGER, TOLLES & OLSON LLP
P.O. Box 34553                                          601 Massachusetts Ave. NW,
Washington, D.C. 20043                                   Suite 500E
(202) 448-9090                                          Washington, D.C. 20001
kbateman@democracyforward.org                           (202) 220-1100
                                                        Donald.Verilli@mto.com
      Counsel for Plaintiffs-Appellees (additional counsel listed on inside cover)

May 5, 2025




*Admitted in California only; practicing under the supervision of District of Columbia Bar members
Hailyn J. Chen
Adeel Mohammadi
MUNGER, TOLLES & OLSON LLP
350 S. Grand Ave.,
 Fiftieth Floor
Los Angeles, CA 90071
(213) 683-9100
Hailyn.Chen@mto.com
Adeel.Mohammadi@mto.com

Gabriel M. Bronshteyn
MUNGER, TOLLES & OLSON LLP
560 Mission St.,
 Twenty-Seventh Floor
San Francisco, CA 94105
(415) 512-4000
Gabriel.Bronshteyn@mto.com
                                         TABLE OF CONTENTS

                                                                                                            PAGE
TABLE OF CONTENTS ................................................................................. i
TABLE OF AUTHORITIES .......................................................................... ii
GLOSSARY OF ABBREVIATIONS ............................................................ v
INTRODUCTION AND RULE 40(b)(2) STATEMENT .............................. 1
BACKGROUND ............................................................................................ 2
         A.       Factual and Legal Background................................................... 2
         B.       Procedural Background .............................................................. 4
ARGUMENT .................................................................................................. 6
I.       The Government Is Not Likely to Succeed on Appeal. ....................... 6
         A.       Article III Courts May Hear the Networks’ Statutory and
                  Constitutional Claims. ................................................................ 7
         B.       Department of Education v. California Does Not Support a
                  Stay ........................................................................................... 13
II.      The Panel Erred in Evaluating the Remaining Stay Factors. ............. 16
CONCLUSION ............................................................................................. 19
CERTIFICATE OF COMPLIANCE ............................................................ 20
CERTIFICATE OF SERVICE ..................................................................... 21




                                                              i
                                    TABLE OF AUTHORITIES

                                                                                                         PAGE(S)

FEDERAL CASES

Albrecht v. Comm. on Emp. Benefits,
   357 F.3d 62 (D.C. Cir. 2004) ................................................................................ 8

Alpine Sec. Corp. v. FINRA,
   121 F.4th 1314 (D.C. Cir. 2024) .........................................................................16

Astra USA, Inc. v. Santa Clara Cnty.,
   563 U.S. 110 (2011) ............................................................................................15

*Bowen v. Massachusetts,
  487 U.S. 879 (1988) ............................................................................9, 14, 15, 16

Chaplaincy of Full Gospel Churches v. England,
  454 F.3d 290 (D.C. Cir. 2006) ............................................................................16

Crowley Gov’t Servs., Inc. v. GSA,
  38 F.4th 1099 (D.C. Cir. 2022) .......................................................................9, 15
Dalton v. Specter,
  511 U.S. 462 (1994) ..............................................................................................8

*Department of Education v. California,
  145 S. Ct. 966 (2025) ..............................................................................13, 14, 17

Gomez v. United States,
  490 U.S. 858 (1989) ............................................................................................12
*Ingersoll-Rand Co. v. United States,
   780 F.2d 74 (D.C. Cir. 1985) ..............................................................................14



* Authorities upon which we chiefly rely are marked with astericks.




                                                         ii
                                     TABLE OF AUTHORITIES
                                           (continued)

                                                                                                          PAGE(S)

KalshiEX LLC v. CFTC,
  119 F.4th 58 (D.C. Cir. 2024) ............................................................................... 6

Kingdomware Techs, Inc. v. United States,
   579 U.S. 162 (2016) ............................................................................................11

League of Women Voters v. Newby,
   838 F.3d 1 (D.C. Cir. 2016) ................................................................................17

LeBlanc v. United States,
  50 F.3d 1025 (Fed. Cir. 1995) ..........................................................................8, 9

*Megapulse, Inc. v. Lewis,
  672 F.2d 959 (D.C. Cir. 1982) ......................................................................10, 15

Perry Cap. LLC v. Mnuchin,
   864 F.3d 591 (D.C. Cir. 2017) ........................................................................9, 10
Quarles v. United States,
  587 U.S. 645 (2019) ............................................................................................12

Tootle v. Sec’y of Navy,
  446 F.3d 167 (D.C. Cir. 2006) .............................................................................. 8

*Transohio Sav. Bank v. Dir., Off. of Thrift Supervision,
   967 F.2d 598 (D.C. Cir. 1992) .............................................................................. 9
Webster v. Doe,
  486 U.S. 592 (1988) ..............................................................................................8

FEDERAL STATUTES

22 U.S.C. § 6201(3) .................................................................................................18

22 U.S.C. § 6202(b) .................................................................................................11

*22 U.S.C. § 6204(a)(5) .............................................................................................3


                                                         iii
                                     TABLE OF AUTHORITIES
                                           (continued)

                                                                                                          PAGE(S)

*22 U.S.C. § 6204(a)(6) .............................................................................................3

22 U.S.C. § 6208(a) .................................................................................................11
22 U.S.C. § 6208(b) .................................................................................................11

22 U.S.C. § 6208(g) ...........................................................................................11, 12
Pub. L. No. 103-236, 108 Stat. 382 (1994)............................................................2, 3

Pub. L. No. 108-11, 117 Stat. 559 (2003).................................................................. 3

*Pub. L. No. 118-47, 138 Stat. 460 (2024)..........................................................3, 11
RULES - OTHER
Fed.R.App.P. 40(b)(2)(A) ..........................................................................................6

Fed.R.App.P. 40(b)(2)(B) ..........................................................................................6
Fed.R.App.P. 40(b)(2)(D) ..........................................................................................6
OTHER AUTHORITIES

Allocate, Black’s Law Dictionary (12th ed. 2024) ..................................................11




                                                          iv
        GLOSSARY OF ABBREVIATIONS

APA      Administrative Procedure Act

CFC      Court of Federal Claims

FY       Fiscal Year

IBA      United States International Broadcasting Act

MBN      Middle East Broadcasting Networks, Inc.

RFA      Radio Free Asia

USAGM    United States Agency for Global Media




                           v
             INTRODUCTION AND RULE 40(b)(2) STATEMENT
      The Executive Branch has impounded millions of dollars in appropriated

funds in defiance of Congress’s express directive that the funds “shall be

allocated” to Radio Free Asia (“RFA”) and the Middle East Broadcasting

Networks (“MBN,” and collectively, the “Networks”). A divided motions panel of

this Court held that Article III courts are powerless to enjoin this brazenly unlawful

action because the Tucker Act diverts contract disputes to the Court of Federal

Claims (“CFC”). But this is not a contract dispute suitable for Article I courts.

This is a constitutional dispute that lies at the very core of the Article III judicial

power. The Executive is violating Congress’s statutory command that specific

appropriated amounts “shall” be disbursed to the Networks, as well as the Take

Care Clause and separation of powers principles. The panel’s conclusion that

Article III courts cannot adjudicate those claims merely because the Networks’

funds are disbursed through contracts that parallel the statutory scheme raises

issues of profound importance, especially at this moment in our history. It

conflicts with decades of precedent holding that the Tucker Act does not divest

district courts of jurisdiction to hear claims based on a statutory entitlement to

funds or to enforce the separation of powers. And it countenances the Executive’s

evident conclusion that it is free to ignore the law based on nothing more than the

Executive’s preference for a different policy than the one Congress enacted.


                                            1
      The Networks have taken the unusual step of seeking en banc review of the

panel’s stay order not only because immediate correction of that misguided

decision is a matter of pressing national importance, but also—and more

fundamentally—because the stay is a death sentence for the Networks. On May

9—just days from now—RFA will be forced to terminate its staff and will exist in

name only. MBN, too, teeters on the brink of extinction; even after terminating

over 500 employees, it cannot survive past May 31. Plainly put, the Networks will

not exist by the time this Court has a chance to adjudicate the government’s appeal.

By contrast, the government suffers no cognizable harm—and nothing comparable

to what the Networks are suffering—from being enjoined, during this appeal, to

continue disbursing funding that Congress already earmarked for the Networks.

      The Networks respectfully request vacatur of the stay by Wednesday, May

7, to ensure that the government has time to process disbursement of the Networks’

funds by Friday, May 9.

                                BACKGROUND

      A.    Factual and Legal Background
      For decades, RFA and MBN have provided independent, objective

journalism in countries that otherwise lack free media. RFA was established in

1996, after Congress called for a broadcasting service for “Asian nations whose

people do not fully enjoy freedom of expression.” United States International


                                         2
Broadcasting Act, Pub. L. No. 103-236, Title III, § 309(b), 108 Stat. 382, 440

(1994) (“IBA”). MBN was established in the wake of the terrorist attacks of 9/11

to bring uncensored journalism to the Middle East and North Africa, ensuring

impartial coverage of the United States. Opp.Add.28; see Pub. L. No. 108-11, 117

Stat. 559, 562 (2003).1

      Congress has directed the Executive Branch—specifically, the U.S. Agency

for Global Media (“USAGM”)—to disburse appropriated funds to the Networks to

fulfill their missions. The Networks have no other source of funding. Opp.Add.7,

30. In FY2024, Congress appropriated about $857 million to USAGM, specifying

that $60.83 million “shall be allocated” to RFA, and $100 million to MBN. Pub.

L. No. 118-47, div. F, 138 Stat. 460, 735 (2024); Add.87. Congress extended that

same funding directive for FY2025 through continuing resolutions. Under the

IBA, USAGM “allocat[es] funds appropriated for international broadcasting

activities” by “mak[ing] and supervis[ing] grants.” 22 U.S.C. § 6204(a)(5), (6).

USAGM is prohibited from reprogramming more than 5% of a network’s annual

appropriation. 138 Stat. at 735.

      On March 15, 2025, USAGM terminated each Network’s funding ostensibly

because it “no longer effectuates agency priorities.” Opp.Add.15, 42. The



1
 “Opp.Add.” refers to the addendum to the Networks’ stay opposition in this
Court. E.g., MBN, 25-5150 (D.C. Cir. Apr. 28, 2025), ECF No.2113206.
                                         3
impoundment of the Networks’ funds has devastated the Networks. If RFA does

not receive funding by May 9, it will be forced out of existence unless it terminates

approximately 340 employees—leaving behind a shell with “minimal

broadcasting,” facing “bankruptcy in late summer.” Add.89. MBN has already

terminated the employment of 514 individuals; it cannot survive past May 31

without funding. Add.91-92.

      B.     Procedural Background
      RFA and MBN each filed suit and sought emergency relief.

Contemporaneously, a related case was transferred to D.D.C. That case,

Widakuswara v. Lake, 25-cv-1015 (D.D.C.), challenged the government’s efforts

to dismantle USAGM, including its termination of funding to the Networks.

      The district court entered a preliminary injunction in Widakuswara. It held

that the plaintiffs were likely to show that USAGM’s dismantling gambit was

unlawful and, as relevant here, that USAGM’s termination of the Networks’

funding violated the IBA and appropriations statutes, as well as the Take Care

Clause and separation-of-powers principles. Add.74-76. The district court

rejected the government’s Tucker Act jurisdictional argument because the

Networks’ rights arise from the relevant statutes, not the grant agreements.

Add.65-66. The injunction required the defendants to reverse the dismantling and

to restore the Networks’ grants. Add.84-85. Days later, the court entered a


                                          4
preliminary injunction in the Networks’ lawsuits likewise requiring USAGM to

restore the Networks’ grants. Add.43-46.

      The government appealed and sought a stay in Widakuswara and the

Networks’ lawsuits before funds would be disbursed on May 2. See Nos. 25-5144,

25-5150, 25-5151 (D.C. Cir.). A motions panel issued an administrative stay the

night before the Networks were to receive the funds they need to survive.

      On May 3, a divided motions panel granted a stay. Add.5-6. The panel held

that the government would likely prevail on appeal because the Networks’ claims

sound in contract, and so the district court lacked jurisdiction under the Tucker

Act. The panel recognized the Networks’ statutory and constitutional claims, but

rejected them out of hand at the jurisdictional stage because it believed that the

statute only requires USAGM to “enter grants obligating the appropriated amounts

to the networks”—not to actually disburse the funds Congress expressly allocated.

Add.13-14. The panel also concluded that the remaining factors supported a stay,

despite the “possible collapse of MBN and RFA” during appeal. Add.17.

      Judge Pillard dissented. In her view, the majority’s decision was

“inconsistent with both this court’s and the Supreme Court’s longstanding

understanding of the Tucker Act.” Add.28. She explained that under the

governing test the “Networks’ claims belong in the district court,” because the

“Congressional basis of [the Networks’] entitlement precedes the individual grants

                                          5
that deliver their allocations” and because the Networks do not seek money

damages for breach of contract. Add.30, 33-34. On the equities, Judge Pillard

emphasized that the Networks “are on the verge of collapse.” Add.36, 39. She

explained that the purpose of a stay is “to maintain the status quo until a case can

be fully adjudicated,” but the stay here “does the opposite” by eliminating the

Networks’ “ability to see this case through.” Add.19.

                                    ARGUMENT
      The decision of the motions panel conflicts with decisions of this Court and

the Supreme Court on a question of exceptional national importance. See

Fed.R.App.P. 40(b)(2)(A), (B), (D). This Court should grant rehearing en banc,

vacate the stay, and hold that the circumstances do not justify the “‘extraordinary’

remedy” of a stay pending appeal. KalshiEX LLC v. CFTC, 119 F.4th 58, 63 (D.C.

Cir. 2024) (citation omitted).

I.    The Government Is Not Likely to Succeed on Appeal.
      The panel held that Article III courts cannot enjoin an impoundment of

federal funds directed to an entity by statute whenever those funds are distributed

through the mechanism of a contract. That remarkable ruling conflicts with

decades of precedent and disempowers federal courts precisely when they are most

needed to fulfill their constitutional function.




                                           6
      A.     Article III Courts May Hear the Networks’ Statutory and
             Constitutional Claims.
      Jurisdiction over the Networks’ statutory and constitutional claims plainly

lies in the Article III federal courts. The panel’s contrary decision conflates

jurisdiction and the merits, and in any event gets the merits badly wrong.

      1. The Networks brought statutory and constitutional claims that Article III

courts can and must adjudicate.

      It is undisputed that the Networks allege Defendants violated federal statutes

and the Constitution. Each Network’s complaint argues that Defendants’ actions

are “contrary to law and in excess of statutory authority because the [IBA] and the

relevant appropriations laws create a mandatory, non-discretionary duty for

Defendants to make available to [the Networks their] congressionally appropriated

funds.” 25-cv-907, ECF No.1, ¶ 58; 25-cv-966, ECF No.1, ¶ 58. Each Network’s

complaint further alleges that Defendants’ actions are “contrary to” the

“Constitution because Defendants are unlawfully withholding funds appropriated

by Congress.” E.g., 25-cv-907, ECF No.1, Id. ¶ 60. To vindicate these statutory

and constitutional violations, each Network brought two claims under the

Administrative Procedure Act (“APA”), one under the Mandamus Act, four under

the Constitution, and one to enjoin ultra vires conduct. E.g., id. Counts One-Nine.

The Networks have never argued that they are entitled to funds because

Defendants violated a contract.
                                          7
      In those circumstances, the law is crystal clear: Jurisdiction lies with Article

III courts. That conclusion is inescapable as to the Networks’ non-APA claims.

The government argues that the APA’s waiver of sovereign immunity is

inapplicable as to claims encompassed by the Tucker Act. See Albrecht v. Comm.

on Emp. Benefits, 357 F.3d 62, 67 (D.C. Cir. 2004). But the Networks do not rely

on the APA’s waiver of sovereign immunity for seven of their nine claims,

including the separation-of-powers and Take Care Clause claims accepted below.

Add.75-76. Indeed, “[c]onstitutional claims for injunctive or declaratory relief

face no sovereign immunity bar.” Add.32 (Pillard, J., dissenting).

      The Tucker Act provides no other basis to divest Article III courts of

jurisdiction over constitutional claims. It does not say so expressly, as would be

required for such a drastic encroachment on the judicial power. See Webster v.

Doe, 486 U.S. 592, 603 (1988).2 And the Tucker Act cannot divest Article III

courts of jurisdiction over claims the CFC cannot hear, Tootle v. Sec’y of Navy,

446 F.3d 167, 176 (D.C. Cir. 2006)—a category that includes claims based on non-

money mandating provisions of the Constitution, such as the “doctrine of

separation of powers,” LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir.



2
  The panel is wrong to suggest (Add.15) that Dalton v. Specter, 511 U.S. 462
(1994), is to the contrary. See id. at 474 (rejecting non-APA review of
constitutional claims against the President when “the statute in question commits
the decision to the discretion of the President”).
                                          8
1995). Otherwise, a federal funding recipient whose contract was terminated based

on race would have no remedy whatsoever. That result is intolerable—yet it is

precisely the implication of the panel decision.

      The Tucker Act also does not apply to the Networks’ APA claims that

“enforce [a] statutory mandate,” as opposed to a contractual one. Bowen v.

Massachusetts, 487 U.S. 879, 900 (1988). Until the panel’s decision, this Court

has dutifully followed that rule. It has time and again inquired whether APA

claims are “founded only on a contract,” or instead “stem from a statute or the

Constitution.” Transohio Sav. Bank v. Dir., Off. of Thrift Supervision, 967 F.2d

598, 609 (D.C. Cir. 1992) (emphasis added), overruled on other grounds by Perry

Cap. LLC v. Mnuchin, 864 F.3d 591, 621 (D.C. Cir. 2017); see also, e.g., Crowley

Gov’t Servs., Inc. v. GSA., 38 F.4th 1099, 1107 (D.C. Cir. 2022) (considering

whether “plaintiff’s asserted rights … arise from statute”). That inquiry is

straightforward here: The Networks base their claims on a statute providing that

RFA and MBN, by name, “shall be allocated” specified sums of appropriated

funds; a statute telling USAGM to effectuate that direction through grant

agreements; and a statute prohibiting USAGM from disbursing any less than

Congress specified, subject to tightly circumscribed reprogramming authority that

USAGM has not invoked. The terms of the individual grant agreements are

irrelevant to the Networks’ claims.

                                          9
      2. The panel’s decision contravenes this foundational precedent. Its basis

for doing so is essentially its disagreement with the Networks on the merits. See

Add.13-15. But disagreement on the merits is no basis for depriving Article III

courts of jurisdiction, and in any event the Networks’ claims are plainly

meritorious.

      a. The panel’s analysis conflates jurisdiction and the merits. The law is

clear: the primary inquiry under the Tucker Act is the source upon which the

plaintiff “bases its claims.” Perry Cap., 864 F.3d at 619 (emphasis added); see

also Megapulse, Inc. v. Lewis, 672 F.2d 959, 969 (D.C. Cir. 1982) (Tucker Act

inapplicable because plaintiff did not “claim” a breach of contract and its “position

[was] ultimately based” on an “alleged” violation of federal law). The panel

strayed far beyond that inquiry, despite the government’s choice to seek a stay

exclusively on Tucker Act grounds. See Stay Mot. 11-18, Widakuswara, 25-5144

(D.C. Cir. Apr. 25, 2025). If this Court is skeptical of the Networks’ claims on the

merits (it should not be), that skepticism can be resolved on appeal. It is no basis

for a stay on jurisdictional grounds.

      b. In all events, the panel’s conclusion that the Networks lack a statutory

entitlement to their appropriated funds is wrong.

      i. The IBA states that “United States international broadcasting”—which

encompasses both RFA and MBN—“shall” fulfill several statutorily-prescribed

                                         10
functions, including providing “news which is consistently reliable and

authoritative,” and a “balanced and comprehensive projection of United States

thought.” 22 U.S.C. § 6202(b); id. § 6208(b) (additional “functions” for RFA).

      To ensure these statutory functions are carried out, Congress has repeatedly

appropriated funds expressly for the Networks and instructed USAGM to pass

through those amounts. Because appropriated funds are the Networks’ sole

funding, Congress’s provision of funds is necessary to enable them to perform their

statutory functions. Congress appropriated $60.83 million to RFA and $100

million to MBN for FY2025, directing that those funds “shall be allocated” to the

Networks. 138 Stat. at 735.3 The use of “shall” imposes an unambiguous

mandatory duty on USAGM to allocate the money appropriated to the Networks.

See Kingdomware Techs., Inc. v. United States, 579 U.S. 162, 171-72 (2016).

“Allocate,” in the appropriations context, means “distribute.” See Allocate,

Black’s Law Dictionary (12th ed. 2024). USAGM thus has a mandatory statutory

duty to disburse $60 million to RFA and $100 million to MBN in FY2025.

      Confirming that conclusion, Congress provided USAGM with only carefully

circumscribed reprogramming authority. USAGM may reprogram up to 5% of the

Networks’ appropriated funds, 138 Stat at 735, and may redirect RFA’s funds to



3
 As to RFA, Congress has further specified that USAGM grants “shall be
available to make annual grants” to RFA. 22 U.S.C. § 6208(a).
                                        11
“another entity” only if RFA “is not carrying out the [statutory] functions … in an

effective and economical manner,” 22 U.S.C. § 6208(g). Congress’s provision of

“carefully defined grant[s] of authority” to withhold funds in certain circumstances

“should be construed as an implicit withholding of the authority to” do so when

those circumstances are not present. Gomez v. United States, 490 U.S. 858, 872

(1989). USAGM’s disagreement with Congress’s policy judgments therefore

cannot justify its refusal to disburse funds altogether.

      ii. The panel decision renders that unambiguous statutory framework a

nullity. In the panel’s view, the statute only requires USAGM to earmark the

Networks’ funds on paper by executing a grant agreement, but has nothing to say

about whether the Networks actually get those funds. Add.14. That makes no

sense. Congress directed the Networks to perform statutory functions which they

cannot carry out without funds. Congress obviously intended that the Networks

would receive the appropriated funds and use them to perform their assigned

responsibilities. It is inconceivable that Congress silently gave USAGM authority

to void the statutory framework by denying the Networks funds and preventing

them from doing the work Congress directed. Courts should not lightly “conclude

that Congress enacted a self-defeating statute.” Quarles v. United States, 587 U.S.

645, 654 (2019). But that is exactly what the panel did.




                                          12
      Strikingly, the panel ignored Congress’s directive that USAGM may not

reprogram any more than 5% of the amount appropriated to each Network. That

provision establishes that USAGM lacks any authority to refuse to disburse the

vast majority of the Networks’ FY2025 funds. In addition, the panel’s

construction renders the reprogramming provision superfluous. If USAGM can

refuse to disburse whatever portion it chooses of the Networks’ appropriated

amounts, Congress would not have specified that USAGM may reprogram only up

to 5%.

      B.     Department of Education v. California Does Not Support a Stay

      The panel believed that the Supreme Court’s stay order in Department of

Education v. California, 145 S. Ct. 966 (2025), “controls this case.” Add.12. The

opposite is true.

      The California plaintiffs represented discretionary grantees who did not

allege that the termination of their grants violated any statute, much less the

Constitution. Compl. at 46-51, California, 25-cv-10548 (D. Mass. Mar. 6, 2025),

ECF No.1. No statute entitled the plaintiffs to specified sums of appropriated

funds; rather, any entitlement arose solely from grant agreements following a

competitive process. The plaintiffs therefore contended that “[n]o term or

condition of” their grant awards “authorized termination” on the ground that the

government had invoked, rendering the termination contrary to the APA. Id. at 49


                                          13
The Court concluded that the plaintiffs sought to “enforce a contractual obligation

to pay money,” notwithstanding their invocation of the APA. California, 145 S.

Ct. at 968 (citation omitted). That conclusion is consistent with this Court’s

decision in Ingersoll-Rand Co. v. United States, 780 F.2d 74, 78 (D.C. Cir. 1985),

which involved a competitive contract recipient with no statutory or constitutional

entitlement to appropriated funds. Here, in vivid contrast, the Networks claim just

such a statutory and constitutional entitlement, making California and Ingersoll-

Rand inapplicable.

      The panel nonetheless treated California as controlling for two reasons, both

wrong. First, the panel asserted, Add.13-14, that the Networks lack any statutory

entitlement to funding; that argument fails for the reasons stated above. Second,

the panel believed that the relief afforded by the district court—“disbursement to

RFA and MBN of the funds Congress appropriated”—is “inherently contractual”

because it “in substance orders specific performance,” making the CFC the

“exclusive forum for this suit.” Add.12. That reasoning flies in the face of binding

precedent.

      In Bowen v. Massachusetts, 487 U.S. 879, 900-01 (1988), the Supreme

Court recognized that the mere fact that an order requires the government to pay

money—in other words, ordering specific performance—does not render the

action contractual. There, the Court held that the district court had jurisdiction to

                                          14
enter an injunction enforcing a statutory directive that the government “shall pay”

funds. Id. So too here: By requiring “disbursement,” the district court’s order

enforces Congress’s direction that specific funds “shall be allocated” to the

Networks.

      The fact that the Executive and the Networks have also entered into grant

agreements that parallel the appropriation does not somehow deprive the Article III

courts of jurisdiction to enforce the very statutory command that the agreements

implement. The grants are simply the means by which the Executive implements

the appropriation. That the Networks might also have contractual rights does not

vitiate their statutory entitlement. Nor does that alter their claim here: that

Defendants have “acted beyond the scope of their statutory authority” by refusing

to disburse appropriated funds. Crowley, 38 F.4th at 1107. Contrary to the panel’s

view, this Court has repeatedly recognized that such claims lie within the district

court’s jurisdiction. Id.; Megapulse, 672 F.2d at 969.

      The panel’s ruling thus effects an extraordinary constriction of Article III

jurisdiction. Congress often instructs the Executive to use contracts to implement

statutes directing appropriations to private entities. See Astra USA, Inc. v. Santa

Clara Cnty., 563 U.S. 110, 118 (2011). If the panel were correct, Article III courts

would be powerless to adjudicate claims that the Executive has violated such

statutes and even the Constitution. And plaintiffs whose directly appropriated

                                          15
funds are delivered using grant agreements would be relegated to the CFC, which

can award only retrospective damages. Those are no “substitute for prospective

relief” enforcing the Executive’s ongoing obligation to follow the statute. Bowen,

487 U.S. at 905. It cannot be that in enacting the Tucker Act, Congress

constrained the Article III courts’ authority in that manner, giving the Executive a

blank check to violate statutory commands directing specific funds to recipients

charged with implementing Congress’s directives, and upending the separation of

powers in the process.

II.   The Panel Erred in Evaluating the Remaining Stay Factors.

      The difference in irreparable harm between the parties could not be more

stark. If this Court grants a stay, the Networks will cease to exist before the appeal

is adjudicated. If the Court rejects the stay, the government will make payments

that Congress has expressly directed, in accordance with decades of

uncontroversial practice. That vast disparity in harms alone justifies denying the

stay. See Add.40-41 (Pillard, J., dissenting); Alpine Sec. Corp. v. FINRA, 121

F.4th 1314, 1330 (D.C. Cir. 2024) (equity favors allowing a party to “fully

litigate[]” its claims “without being throttled by a shutdown of its business”);

Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir.

2006) (movant’s failure to show irreparable harm is “grounds for refusing to issue

a [stay], even if the other three factors entering the calculus merit such relief”).


                                           16
      Any harm the government incurs cannot possibly justify a stay that destroys

the Networks before an appeal is adjudicated. The panel expressed concern that

the government will be “forced to imminently pay out” the Networks’ April funds.

Add.16. But that harm is insubstantial: The funds at issue are “statutorily

earmarked for the very purpose and entity to which the injunction directs them,”

and are “legally restricted against reprogramming to other functions or entities.”

Add.41 (Pillard, J., dissenting). The government already paid out March funds

pursuant to an injunction previously issued in Widakuswara; payment of April

funds is a marginal additional cost to the government, but is the difference between

life and death for the Networks.

      The panel invokes California on the equities too, but its reliance is again

misplaced. In that case, the grantees “represented in th[e] litigation that they have

the financial wherewithal to keep their programs running,” so the equitable stay

factors tipped in the government’s favor. 145 S. Ct. at 969. Here, even with the

drastic steps both Networks have taken—including mass furloughs and layoffs—

neither Network can last through this litigation. See p.4, supra.

      The balance of equities and public interest also weigh powerfully against a

stay. Beyond the “substantial public interest in having governmental agencies

abide by the federal laws that govern their existence and operations,” League of

Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (citation omitted), here

                                         17
Congress has already determined where the public interest lies: it is “in the interest

of the United States to support broadcasting to other nations.” 22 U.S.C. §

6201(3). A stay would leave that mission unfulfilled for the first time in decades—

which “cannot be squared with the public interest.” Add.41 (Pillard, J.,

dissenting).




                                         18
                                 CONCLUSION
      The Court should grant en banc review.

Dated May 5, 2025                       Respectfully submitted,

                                        /s/ Donald B. Verrilli, Jr.
 Kristin Bateman*                       Donald B. Verrilli, Jr.
 Jennifer Fountain Connolly             Ginger D. Anders
 Robin F. Thurston                      Jeremy S. Kreisberg
 Skye L. Perryman                       Helen E. White
 DEMOCRACY FORWARD FOUNDATION           Esthena L. Barlow
 P.O. Box 34553                         MUNGER, TOLLES & OLSON LLP
 Washington, D.C. 20043                 601 Massachusetts Ave. NW,
 (202) 448-9090                           Suite 500E
 kbateman@democracyforward.org          Washington, D.C. 20001
 jconnolly@democracyforward.org         (202) 220-1100
 rthurston@democracyforward.org         Donald.Verilli@mto.com
 sperryman@democracyforward.org         Ginger.Anders@mto.com
                                        Jeremy.Kreisberg@mto.com
                                        Helen.White@mto.com
                                        Esthena.Barlow@mto.com
                                        Hailyn J. Chen
                                        Adeel Mohammadi
                                        MUNGER, TOLLES & OLSON LLP
                                        350 S. Grand Ave.,
                                         Fiftieth Floor
                                        Los Angeles, CA 90071
                                        (213) 683-9100
                                        Hailyn.Chen@mto.com
                                        Adeel.Mohammadi@mto.com
                                        Gabriel M. Bronshteyn
                                        MUNGER, TOLLES & OLSON LLP
                                        560 Mission St.,
                                         Twenty-Seventh Floor
                                        San Francisco, CA 94105
                                        (415) 512-4000
                                        Gabriel.Bronshteyn@mto.com

                          Counsel for Plaintiffs-Appellees

*Admitted in California only; practicing under the supervision of District of
Columbia Bar members
                                         19
                     CERTIFICATE OF COMPLIANCE
      This brief complies with the type-volume limitation in Federal Rule of

Appellate Procedure 40(d)(3) because it contains 3,884 words. This brief complies

with the typeface requirements of Federal Rule of Appellate Procedure 32(a)(5)

and the type style requirements of Federal Rule of Appellate Procedure 32(a)(6)

because it has been prepared in a proportionally spaced typeface using Microsoft

Word in 14-point Times New Roman font.

Dated: May 5, 2025                           /s/ Donald B. Verrilli, Jr.
                                             Donald B. Verrilli, Jr.




                                        20
                         CERTIFICATE OF SERVICE
      I certify that on May 5, 2025, a true and correct copy of this Brief was filed

with the Clerk for the United States Court of Appeals for the District of Columbia

Circuit via the Court’s electronic filing system, which will forward a copy to all

counsel of record.

Dated: May 5, 2025                            /s/ Donald B. Verrilli, Jr.
                                              Donald B. Verrilli, Jr.




                                         21
                                              ADDENDUM

Circuit Rule 40(c) Materials

Certificate as to Parties, Rulings, and Related Cases ....................................... Add. 1

Corporate Disclosure Statement ....................................................................... Add. 3

D.C. Circuit Opinion and Order

Order Granting Stay Pending Appeal in MBN, 25-5150, and
      RFA, 25-5151 (D.C. Cir. May 3, 2025) .................................................. Add. 4

District Court Opinions and Orders

Orders Granting Preliminary Injunctions in RFA, 25-cv-907,
      and MBN, 25-cv-966 (D.D.C. Apr. 25, 2025) ...................................... Add. 43
Memorandum Opinion Granting Preliminary Injunction in
    Widakuswara, 25-cv-1015 (D.D.C. Apr. 22, 2025) ............................. Add. 47
Order Granting Preliminary Injunction in Widakuswara, 25-cv-
      1015 (D.D.C. Apr. 22, 2025) ................................................................ Add. 84

Statutory Material

Explanatory Statement Submitted by Ms. Granger, Chair of the
     House Committee on Appropriations, Regarding H.R.
     2882, Further Consolidated Appropriations Act 2024,
     170 Cong. Rec. H1501, H2089 (Mar. 22, 2024) .................................. Add. 86

Supporting Material

Second Supplemental Declaration of Kevin W. Fleming (RFA)
     (Apr. 27, 2025) ..................................................................................... Add. 88

Second Supplemental Declaration of Deirdre Kline (MBN)
     (Apr. 27, 2025) ..................................................................................... Add. 91
     CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

A.     Parties

       Petitioners (Plaintiffs-Appellees): Radio Free Asia and Middle East

Broadcasting Networks, Inc.

       Respondents (Defendants-Appellants): United States of America; the

United States Agency for Global Media; Kari Lake, in her official capacity as

Senior Advisor to the Acting CEO of the U.S. Agency for Global Media; Victor

Morales, in his official capacity as Acting CEO; the Office of Management and

Budget; Russell Vought, in his official capacity as Director of the United States

Office of Management and Budget; the United States Department of Treasury; and

Scott Bessent, in his official capacity as United States Secretary of the Treasury.

       Intervenors and amici curiae: Reporters Committee for Freedom of the

Press filed a motion for leave to file an amicus brief in district court proceedings.

B.     Rulings Under Review

       The Networks commenced this action challenging the government’s

impoundment of their congressionally appropriated funds on March 27, 2025

(RFA) and April 1, 2025 (MBN). On April 25, 2025, the Honorable Royce C.

Lamberth of the U.S. District Court for the District of Columbia granted the

Networks’ respective motions for a preliminary injunction. See Radio Free Asia v.

United States, 25-cv-907 (D.D.C. Apr. 25, 2025), ECF No. 25; Middle East




                                                                                        Add. 1
Broadcasting Networks, Inc. v. United States, 25-cv-966 (D.D.C. Apr. 25, 2025),

ECF No. 23. No official citations exist, but both orders are included in this

addendum. Those orders were granted for substantially the same reasons

explained in Widakuswara v. Lake, 2025 WL 1166400 (D.D.C. Apr. 22, 2025),

which is also included in this addendum.

      On April 25, 2025, the government noticed an interlocutory appeal, and on

April 26, 2025, the government moved for a stay pending appeal. On May 3,

2025, a divided panel of this Court granted the government’s motion for a stay

pending appeal. See Middle East Broadcasting Networks, Inc. v. United States, 25-

5150 (D.C. Cir. May 3, 2025), ECF No. 2114139; Radio Free Asia v. United

States, 25-5151 (D.C. Cir. May 3, 2025), ECF No. 2114139. No official citation

exists, but the per curiam order is included in this addendum.

C.    Related Cases

      There are three related cases currently before this Court: Widakuswara v.

Lake, 25-5144 (D.C. Cir.); Abramowitz v. Lake, 25-5145 (D.C. Cir.); RFE/RL,

Inc. v. Lake, 25-5158 (D.C. Cir.). In addition, there is one related case currently

pending in the U.S. District Court for the District of Columbia: Open Technology

Fund v. Lake, 25-cv-840 (D.D.C.).



Dated: May 5, 2025                     /s/ Donald B. Verrilli, Jr.
                                       Donald B. Verrilli, Jr.


                                                                                      Add. 2
                  CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

I state that neither Radio Free Asia nor Middle East Broadcasting Networks, Inc.,

has any parent company and that no publicly held company has a 10% or greater

ownership interest in either entity.

Dated: May 5, 2025                     /s/ Donald B. Verrilli, Jr.
                                       Donald B. Verrilli, Jr.




                                                                                    Add. 3
USCA Case #25-5144         Document #2114139              Filed: 05/03/2025    Page 1 of 39



                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5144                                                 September Term, 2024
                                                                       1:25-cv-01015-RCL
                                                       Filed On: May 3, 2025
Patsy Widakuswara, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the U.S. Agency
for Global Media, et al.,

              Appellants



No. 25-5145                                                            1:25-cv-00887-RCL




Michael Abramowitz, in his official capacity as
Director of Voice of America, et al.,

              Appellees

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the United
States Agency for Global Media, et al.,

              Appellants




                                                                                          Add. 4
USCA Case #25-5144         Document #2114139             Filed: 05/03/2025   Page 2 of 39



                   United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 25-5144                                                September Term, 2024


No. 25-5150
                                                                      1:25-cv-00966-RCL


Middle East Broadcasting Networks, Inc.,

              Appellee

       v.

United States of America, et al.,

              Appellants


No. 25-5151
                                                                      1:25-cv-00907-RCL


Radio Free Asia,

              Appellee

       v.

United States of America, et al.,

              Appellants

       BEFORE:       Pillard*, Katsas, and Rao, Circuit Judges

                                        ORDER

       Upon consideration of the motions for stay pending appeal filed in the above-
captioned cases, the responses thereto, and the replies; and the administrative stay
entered on May 1, 2025, it is


*Judge Pillard dissents from the grant of the motions for stay.

                                                                                        Add. 5
USCA Case #25-5144         Document #2114139              Filed: 05/03/2025      Page 3 of 39



                  United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
No. 25-5144                                                 September Term, 2024

       ORDERED that the motions for stay pending appeal be granted. The following
orders, or parts thereof, are stayed pending further order of the court:

       In No. 25-5144, provisions (1) and (2) of the district court’s preliminary injunction
filed April 22, 2025;

       In No. 25-5145, the district court’s preliminary injunction filed April 22, 2025, to
the extent the relief granted falls within provisions (1) and (2) of the April 22, 2025
preliminary injunction in No. 25-5144;

       In No. 25-5150, the district court’s preliminary injunction filed April 25, 2025;

       In No. 25-5151, the district court’s preliminary injunction filed April 25, 2025.

       A per curiam concurring statement and a dissenting statement of Judge Pillard
are attached. It is

      FURTHER ORDERED that the administrative stay entered in Nos. 25-5144, 25-
5150, and 25-5151 be dissolved.


                                        Per Curiam


                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Amy Yacisin
                                                          Deputy Clerk




                                           Page 2

                                                                                               Add. 6
USCA Case #25-5144     Document #2114139               Filed: 05/03/2025       Page 4 of 39




                PER CURIAM: For the following reasons, we grant the
            government’s motion for a stay pending appeal.

                                           I

                The United States Agency for Global Media oversees six
            federally funded broadcast networks. One of these, Voice of
            America, is operated by government employees and
            contractors. Others, including Radio Free Asia and Middle
            East Broadcasting Networks, operate as private, non-profit
            corporations. Through appropriations, Congress has allocated
            specific funding for the private networks, which USAGM
            disburses through grants.      E.g., Further Consolidated
            Appropriations Act of 2024, Pub. L. No. 118-47, div. F, tit. I,
            138 Stat. 460, 735; Explanatory Statement Submitted by Ms.
            Granger, Chair of the House Committee on Appropriations,
            Regarding H.R. 2882, Further Consolidated Appropriations
            Act, 2024, 170 Cong. Rec. H1501, H2089 (Mar. 22, 2024).

                On March 14, 2025, the President issued Executive Order
            14238, which directed USAGM leadership to reduce the
            agency to the minimum level of operations required by statute.
            90 Fed. Reg. 13043. In response, USAGM placed over 1,000
            employees on administrative leave, terminated nearly 600
            personal-service contractors, and terminated RFA’s and
            MBN’s grant agreements for the 2025 fiscal year.
            Widakuswara v. Lake, No. 25-CV-1015, 2025 WL 1166400, at
            *3 (D.D.C. Apr. 22, 2025). USAGM further directed its
            personnel abroad to cease broadcasting through VOA. Id.

                 Various plaintiffs, including USAGM employees,
            contractors, and grantees, filed lawsuits to challenge these
            actions in our district court. In one of the cases, the district
            court granted a preliminary injunction requiring USAGM to
            (1) restore its employees and contractors to their pre-March 14
            status, (2) restore its FY 2025 grants with RFA and MBN, and
            (3) restore VOA as “a consistently reliable and authoritative




                                                                                          Add. 7
USCA Case #25-5144     Document #2114139                Filed: 05/03/2025        Page 5 of 39




                                            2
            source of news.” Widakuswara, 2025 WL 1166400, at *18.
            The court granted parallel relief in the other cases.

                 USAGM appealed and sought a stay of the first two
            portions of the preliminary injunction. Because of imminent
            funding deadlines, parties on both sides have requested
            expedited consideration of the stay motion.1

                                            II

                 To resolve the stay motion, we consider whether the
            government is likely to prevail on appeal, any irreparable harm
            to the government, harms to the plaintiffs and others, and the
            public interest. See Nken v. Holder, 556 U.S. 418, 425–26
            (2009). Applying these factors, we conclude that a stay is
            warranted.

                                            A

                 The government is likely to succeed on the merits because
            the district court likely lacked subject-matter jurisdiction to
            enjoin USAGM’s personnel actions and to compel the agency
            to restore RFA’s and MBN’s FY 2025 grants.

                                            1

                 The district court likely lacked jurisdiction over
            USAGM’s personnel actions. “We have long held that federal
            employees may not use the Administrative Procedure Act to
            challenge agency employment actions.” Filebark v. U.S. Dep’t

                1
                     Radio Free Europe, another private network funded by
            USAGM, filed a similar suit and received a temporary restraining
            order. See RFE/RL, Inc. v. Lake, No. 25-CV-799, 2025 WL 1232863
            (D.D.C. Apr. 29, 2025). The government has filed a separate motion
            to stay that order, which we do not resolve here.




                                                                                            Add. 8
USCA Case #25-5144     Document #2114139                Filed: 05/03/2025       Page 6 of 39




                                           3
            of Transp., 555 F.3d 1009, 1010 (D.C. Cir. 2009). Congress
            has instead established comprehensive statutory schemes for
            adjudicating employment disputes with the federal
            government.2 See, e.g., 5 U.S.C. §§ 1204, 7121–22, 7701
            (Merit Systems Protection Board); id. § 1214 (Office of the
            Special Counsel); id. § 7104 (Federal Labor Relations
            Authority); 22 U.S.C. § 4107 (Foreign Service Labor Relations
            Board); id. § 4136 (Foreign Service Grievance Board); 41
            U.S.C. §§ 7103–05 (Civilian Board of Contract Appeals).
            These remedial schemes “provide[] the exclusive procedures
            by which federal employees” may pursue employment- and
            contractor-related claims. Am. Fed’n of Gov’t Emps., AFL-
            CIO v. Trump, 929 F.3d 748, 755 (D.C. Cir. 2019); see, e.g.,
            Am. Foreign Serv. Ass’n v. Baker, 895 F.2d 1460, 1461–62
            (D.C. Cir. 1990) (foreign-service labor-related claims must go
            through FSLRB); Dalton v. Sherwood Van Lines, Inc., 50 F.3d
            1014, 1017 (Fed. Cir. 1995) (Contract Disputes Act provides
            exclusive remedial scheme for covered contracts). “Federal
            employees may not circumvent [these statutes’] requirements
            and limitations by resorting to the catchall APA to challenge
            agency employment actions.” Grosdidier v. Chairman, Broad.
            Bd. of Governors, 560 F.3d 495, 497 (D.C. Cir. 2009). “And
            that principle applies to a ‘systemwide challenge’ to an agency
            policy … just as it does to the implementation of such a policy
            in a particular case.” Nyunt v. Chairman, Broad. Bd. of
            Governors, 589 F.3d 445, 449 (D.C. Cir. 2009).


                2
                    The dissent doubts that Congress’s chosen administrative
            methods could meaningfully process agency-wide claims for over
            1,000 employees. But administrative agencies are not powerless to
            issue broad-reaching relief in large-scale personnel matters. See
            Order on Stay Request, Special Counsel ex rel. John Doe v.
            Department of Agriculture, No. CB-1208-25-0020-U-1 (MSPB Mar.
            5, 2025), https://perma.cc/3F45-PKG5 (single MSPB order staying
            termination of nearly 6,000 employees).




                                                                                           Add. 9
USCA Case #25-5144      Document #2114139                 Filed: 05/03/2025        Page 7 of 39




                                             4
                 The district court nonetheless justified the injunction on
            the ground that “this case is not simply a collection of
            employment disputes” because the “facts on the record and on
            the ground” suggest USAGM is being “dismantl[ed].”
            Widakuswara, 2025 WL 1166400, at *11. And in their stay
            briefing, plaintiffs expressly frame their claims as challenging
            the “wholesale shuttering of VOA” and seeking to undo “broad
            government actions” to “dismantl[e] an entire federal agency.”
            Abramowitz Opp’n to Stay Mot. at 13, 18; Widakuswara
            Opp’n to Stay Mot. at 14. Yet plaintiffs may not use the APA
            to mount “wholesale” challenges to an agency’s “entire
            program.” Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 893
            (1990) (cleaned up). The APA cause of action, like its
            sovereign-immunity waiver, provides for judicial review of
            “discrete agency actions.” Norton v. S. Utah Wilderness All.,
            542 U.S. 55, 64 (2004); see 5 U.S.C. §§ 702, 704. The
            “dismantling” that plaintiffs allege is a collection of “many
            individual actions” that cannot be packaged together and “laid
            before the courts for wholesale correction under the APA.”
            Nat’l Wildlife Fed’n, 497 U.S. at 893.3 Thus, while USAGM’s
            employees and contractors might have viable, discrete claims
            with respect to their individual personnel actions, those claims
            must be pursued through other remedial channels.

                                             2

               The district court also likely lacked jurisdiction to restore
            RFA’s and MBN’s FY 2025 grants.



                3
                   Before the district court and here, the government maintained
            that plaintiffs fail to challenge any discrete, circumscribed agency
            action as required under the APA and instead seek judicial review of
            the agency’s general compliance with its statutory mandate. See
            Opp. to Preliminary Injunction 30; Stay Mot. 22–23.




                                                                                             Add. 10
USCA Case #25-5144     Document #2114139                 Filed: 05/03/2025        Page 8 of 39




                                            5
                 The Tucker Act vests the Court of Federal Claims with
            jurisdiction over claims against the United States “founded …
            upon any express or implied contract with the United States.”
            28 U.S.C. § 1491(a)(1). We have long held that this
            jurisdictional grant, where it applies, is exclusive and thus bars
            application of the sovereign-immunity waiver set forth in the
            APA. Crowley Gov’t Servs., Inc. v. Gen. Servs. Admin., 38
            F.4th 1099, 1106 (D.C. Cir. 2022); see 5 U.S.C. § 702
            (providing that APA waiver of sovereign immunity is
            inapplicable where “any other statute that grants consent to suit
            expressly or impliedly forbids the relief which is sought”). For
            Tucker Act purposes, whether a claim is “founded upon” a
            contract hinges on “the source of the rights upon which the
            plaintiff bases its claims, and upon the type of relief sought.”
            Crowley, 38 F.3d at 1106 (quoting Megapulse, Inc. v. Lewis,
            672 F.2d 959, 968 (D.C. Cir. 1982)). If a claim against the
            United States is contractual “at its essence,” district courts have
            no power to resolve it. Id. (quoting Megapulse, 672 F.2d at
            967). The same rule applies to claims for breach of grant
            agreements executed through binding government contracts.
            See Columbus Reg’l Hosp. v. United States, 990 F.3d 1330,
            1338–40 (Fed. Cir. 2021).

                 The Supreme Court recently applied these principles to
            issue a stay pending appeal in a case substantially similar to
            this one. In Department of Education v. California, 145 S. Ct.
            966 (2025) (per curiam), a district court entered an order
            “enjoining the Government from terminating various
            education-related grants.” Id. at 968. The Supreme Court
            stayed the order pending the disposition of an appeal to the
            First Circuit and any ensuing petition for certiorari. Id. at 696.
            The Court concluded that the district court likely lacked
            jurisdiction to bar termination of the grants, because the Tucker
            Act likely conferred jurisdiction over the dispute on the CFC.
            Id. Therefore, “the APA’s limited waiver of immunity d[id]




                                                                                            Add. 11
USCA Case #25-5144     Document #2114139                Filed: 05/03/2025       Page 9 of 39




                                           6
            not extend” to the injunction at issue, which the Court
            described as an “order[] to enforce a contractual obligation to
            pay money.” Id. (cleaned up).

                 That reasoning controls this case. Congress created a
            contractual scheme for allocating funds to the grantees. It
            authorizes USAGM to fund RFA, MBN, and other networks
            through “grants and cooperative agreements.” 22 U.S.C.
            § 6204(a)(5). Likewise, the governing appropriation statute
            allocates specific funding amounts for “grants” to those
            networks. 2024 Appropriations Act, 138 Stat. at 735. In the
            grants at issue here, USAGM, acting through its Chief
            Executive Officer, promised to pay the appropriated funds to
            the networks in monthly installments. In return, the networks
            promised to use the funds to advance statutory objectives and
            to comply with all program requirements. These exchanges of
            promises—reflecting offer, acceptance, consideration,
            mutuality of intent, and action by an official with authority to
            bind the government—constitute government contracts for
            Tucker Act purposes. Columbus Reg’l Hosp., 990 F.3d at
            1338–39.

                  By the district court’s own telling, the dispute here arose
            when USAGM terminated these agreements. Widakuswara,
            2025 WL 1166400, at *3. The district court ordered
            “restor[ation] [of] the FY 2025 grants” and “disbursement to
            RFA and MBN of the funds Congress appropriated.” Id. at
            *18. Whether phrased as a declaration that the agreements
            remain in force, or an order to pay the money committed by
            those agreements, the injunction in substance orders specific
            performance of the grant agreements—a quintessentially
            contractual remedy. See Ingersoll-Rand Co. v. United States,
            780 F.2d 74, 79–80 (D.C. Cir. 1985); Spectrum Leasing Corp.
            v. United States, 764 F.2d 891, 894–95 (D.C. Cir. 1985). And
            it is the inherently contractual nature of the relief afforded—




                                                                                          Add. 12
USCA Case #25-5144      Document #2114139                   Filed: 05/03/2025          Page 10 of 39




                                               7
             not any characterization of the relief as money damages—that
             makes the CFC the exclusive forum for this suit. See Ingersoll-
             Rand, 780 F.2d at 79–80 (holding a plaintiff “may not sidestep”
             CFC jurisdiction by “avoiding a request for damages,” when
             their request relief “amount[s] to a request for specific
             performance”); see also Crowley, 38 F.4th at 1107 (cautioning
             against “creative drafting of complaints … to avoid the
             jurisdictional consequences of the Tucker Act” (cleaned up)).

                  To distinguish California, the plaintiffs stress that
             Congress appropriated specific sums for RFA and MBN.
             Accordingly, plaintiffs contend, they may file an APA claim—
             independent of and antecedent to their grant agreements—to
             force USAGM to disburse the appropriated amounts. But
             plaintiffs overread the governing statutes, which do not give
             the networks an unqualified right to the appropriated funds.
             Rather, they allocate funds for the networks, which may be
             disbursed only as grants. See 2024 Appropriations Act, 138
             Stat. at 735. If these statutes created any entitlement for the
             networks at all, they at most would require USAGM to enter
             grants obligating the appropriated amounts to the networks. Cf.
             Train v. City of New York, 420 U.S. 35, 40–43 & n.9 (1975).4
             Thus, any APA claim under these statutes would have to allege
             that the government failed to enter a grant agreement obligating
                  4
                     And even then, USAGM may impose various conditions on a
             network’s receipt of the appropriated funds. See 22 U.S.C. § 6208(c)
             (listing “limitations and restrictions” to be contained in “[a]ny grant
             agreement”); 2024 Appropriations Act, 138 Stat. at 735 (“funds
             appropriated under this heading shall be made available in
             accordance with the principles and standards” of the statute).
             Moreover, even after USAGM has entered into grant agreements, the
             agency still may “award the grant … to another entity” if, “at any
             time,” it determines that the network “is not carrying out the
             [statutory] functions … in an effective and economical manner.” 22
             U.S.C. § 6208(g).




                                                                                                 Add. 13
USCA Case #25-5144      Document #2114139                 Filed: 05/03/2025         Page 11 of 39




                                              8
             the appropriated amount. See Nat’l Ctr. for Mfg. Scis. v. United
             States, 114 F.3d 196, 199–200 (Fed. Cir. 1997) (NCMS). But
             here, USAGM did obligate the appropriated funds through
             grants, thereby satisfying whatever duty (if any) it had under
             the appropriation statutes. See Widakuswara, 2025 WL
             1166400, at *4–*5. Once the agency entered these contracts,
             it incurred a new obligation: Unlike the relevant statutes, the
             grant agreements require the government to make monthly
             payments to the networks—the very obligation prompting this
             highly expedited stay litigation. Accordingly, the claims of
             government nonpayment necessarily challenge its performance
             under the grants. Such claims are squarely contract claims
             under the Tucker Act. See Boaz Housing Auth. v. United
             States, 994 F.3d 1359, 1368–69 (Fed. Cir. 2021) (explaining
             NCMS); see also Ingersoll-Rand, 780 F.2d at 78–80 (Tucker
             Act applies to claims that the government’s termination of a
             contract violated statutes or regulations incorporated therein).5

                 The plaintiffs’ non-APA claims regarding grant money are
             unlikely to fare any better. Below, plaintiffs raised mandamus,
             impoundment, Presentment Clause, Appropriations Clause,
             Spending Clause, Take Care Clause, Separation-of-Powers,

                 5
                    The dissent describes 22 U.S.C. § 6208(c)(5) as significantly
             limiting the circumstances in which USAGM may terminate grants.
             However, that provision sets forth when grants may be “terminated
             without fiscal obligation to the United States.” 22 U.S.C. §
             6208(c)(5) (emphasis added). It thus confirms our conclusion that
             Congress contemplated financial liability under the grant as the
             remedy for any breach. The dissent also notes that the government
             cannot prevent enforcement of statutes through the APA merely by
             incorporating the statutes into contracts. The dissent is correct on
             that point. See Megapulse, 672 F.2d at 967. But in this statute,
             Congress chose to use a contractual mechanism for obligating the
             appropriated funds, rather than creating a freestanding statutory
             entitlement.




                                                                                              Add. 14
USCA Case #25-5144      Document #2114139                  Filed: 05/03/2025         Page 12 of 39




                                              9
             and ultra vires claims. And before our Court, plaintiffs argue
             that “serious constitutional question[s]” would arise if we
             concluded that the CFC had exclusive jurisdiction, as that
             would deprive them of meaningful judicial review of their
             constitutional claims. Widakuswara Opp’n to Stay Mot. at 18
             (citing Webster v. Doe, 486 U.S. 592, 603 (1988)). But these
             constitutional claims simply flow from allegations that the
             Executive Branch has failed to abide by governing
             congressional statutes, which does not suffice to trigger the
             distinctively strong presumptions favoring judicial review of
             constitutional claims. Dalton v. Specter, 511 U.S. 462, 472–74
             (1994); see also Ingersoll-Rand, 780 F.2d at 78 (Tucker Act
             governs challenge to contract termination, “despite plaintiff’s
             allegations of statutory and constitutional violations” (cleaned
             up)).6 Moreover, these claims fall short for the same reason as
             plaintiffs’ APA claims: At most, the statutes in question
             required USAGM to allocate the appropriated amounts through
             grants enforceable as contracts, which USAGM has done.

                                              B

                 On balance, the remaining Nken factors support a stay.

                  Irreparable Harm. The government has shown that it will
             face irreparable harm absent a stay. As to the reinstatement of
             USAGM employees and personal-service contractors: The
             Executive Branch has a significant interest in maintaining
             control over personnel matters. See Sampson v. Murray, 415

                 6
                     In the district court, the Widakuswara plaintiffs also raised
             Appointments Clause and First Amendment claims. The district
             court did not address them in granting the preliminary injunction,
             Widakuswara, 2025 WL 1166400, at *5 n.13, *15 n.26, and the
             plaintiffs do not assert them as grounds for denying a stay. So, we
             do not consider these claims in resolving these stay motions.




                                                                                               Add. 15
USCA Case #25-5144      Document #2114139                  Filed: 05/03/2025         Page 13 of 39




                                              10
             U.S. 61, 83 (1974). In requiring the restoration of all
             employees and contractors to their pre-March 14 status, the
             injunction interferes with this important responsibility. This
             intrusion is particularly harmful because it implicates the
             Executive Branch’s foreign-affairs authority. USAGM is
             responsible for “present[ing] the views of the United States
             Government” and “support[ing] United States foreign policy
             objectives” in the international community. 22 U.S.C.
             § 6202(b)(3), (4). By depriving the Executive Branch of
             control over the individuals involved in its international
             broadcasting, the injunction threatens its prerogative to “speak
             with one voice” on behalf of the United States in foreign
             affairs. Cf. Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1,
             14 (2015); United States v. Curtiss-Wright Exp. Corp., 299
             U.S. 304, 319–20 (1936).

                  As to the restoration of the grants: Absent a stay, USAGM
             would be forced to imminently pay out some $15 million to
             RFA and MBN. And RFA and MBN have attested they intend
             to spend these funds “immediately.” Network Opp’n to Stay
             Mot. at 22. Because the district court did not require plaintiffs
             to post any injunction bond, Widakuswara, 2025 WL 1166400,
             at *17,7 USAGM cannot recover these funds even if it should
             prevail in its appeal. Under these circumstances, harm to the
             government is irreparable. See California, 145 S. Ct. at 969.


                 7
                    Federal Rule of Civil Procedure 65(c) provides that a district
             court “may issue a preliminary injunction or a temporary restraining
             order only if the movant gives security in an amount that the court
             considers proper to pay the costs and damages sustained by any party
             found to have been wrongfully enjoined or restrained.” Fed. R. Civ.
             P. 65(c) (emphasis added). The “precise purpose” of such a bond is
             to ensure that a defendant can be fairly compensated for injury
             stemming from a wrongfully granted injunction. Nat’l Kidney
             Patients Ass’n v. Sullivan, 958 F.2d 1127, 1134 (D.C. Cir. 1992).




                                                                                               Add. 16
USCA Case #25-5144      Document #2114139                Filed: 05/03/2025         Page 14 of 39




                                             11
                  Harm to Others. Plaintiffs identify various harms that they
             and others may incur absent a stay, including loss of
             employment, the possible collapse of MBN and RFA, the
             elimination of a union’s bargaining unit, and the removal of
             alien employees and contractors to countries hostile to the free
             press. Although we appreciate the gravity of these harms, there
             remain several avenues for their remediation. See Chaplaincy
             of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C.
             Cir. 2006) (“[T]he injury must be beyond remediation.”). Loss
             of government employment generally does not constitute
             irreparable injury, see Sampson, 415 U.S at 91–92 & n.68,
             especially since employees seeking to challenge their
             termination or placement on administrative leave may seek
             emergency stays from the Office of Special Counsel and
             MSPB, see 5 U.S.C. § 1214(b). Personal-service contractors
             may likewise challenge their termination under the Contract
             Disputes Act, and unions may file complaints on behalf of their
             members before the FLRA. E.g., Ho v. United States, 49 Fed.
             Cl. 96, 101 (2001) (CFC exercising jurisdiction over personal-
             service contract), aff’d, 30 F. App’x 964 (Fed. Cir. 2002); see
             41 U.S.C. § 7101 et seq.; 5 U.S.C. § 7118. Journalists may
             seek relief in immigration proceedings to avoid potential
             persecution based on their political opinions. See 8 U.S.C.
             §§ 1101(a)(42)(A), 1158 (asylum); id. § 1231(b)(3)
             (withholding of removal). As for MBN and RFA, they may
             seek to recover any wrongfully withheld grant funds in the
             CFC. 28 U.S.C. § 1491(a)(1). Indeed, for almost a month, the
             Supreme Court has made clear that the CFC is likely the only
             forum open to them. See California, 145 S. Ct. at 968.8



                 8
                     We need not consider any potential harm from shuttering
             VOA; the district court ordered USAGM to resume VOA’s
             statutorily required programming levels, and the government has not
             sought to stay that provision of the injunction.




                                                                                             Add. 17
USCA Case #25-5144      Document #2114139                Filed: 05/03/2025         Page 15 of 39




                                             12
                  Public Interest.        Plaintiffs allege that USAGM’s
             implementation of the Executive Order has violated numerous
             statutory requirements. At this stage of the litigation, the
             government has raised jurisdictional, not merits, defenses. Of
             course, we recognize that the public has an interest in the
             Executive Branch’s compliance with congressional mandates.
             League of Women Voters of the U.S. v. Newby, 838 F.3d 1, 12
             (D.C. Cir. 2016). By the same token, however, the public has
             an interest in the Judicial Branch’s respect for the jurisdictional
             boundaries laid down by Congress. Because personnel and
             grant disputes directly concern the public fisc, Congress has
             limited the resolution of these potentially costly claims to
             specialized tribunals such as the MSPB and the CFC. We must
             respect those boundaries no less than the substantive and
             appropriations provisions governing the operation of USAGM.




                                                                                             Add. 18
USCA Case #25-5144      Document #2114139                Filed: 05/03/2025         Page 16 of 39




                  PILLARD, Circuit Judge, dissenting: Defendants are
             unlikely to succeed on the merits: They have not persuasively
             established that the district court lacked authority to enter the
             preliminary injunction. Meanwhile, Voice of America, Radio
             Free Asia, and Middle East Broadcasting Networks face severe
             and irreparable harm absent injunctive relief. Voice of
             America has gone dark for the first time since 1942. Radio
             Free Asia and Middle East Broadcasting Networks face
             imminent collapse if they do not receive the funding Congress
             directed to each of them by name. The purpose of a stay
             pending appeal is to maintain the status quo until a case can be
             fully adjudicated on its merits. This stay does the opposite,
             silencing Voice of America for the foreseeable future and
             eliminating Radio Free Asia and Middle East Broadcasting
             Networks’ ability to see this case through to the end.

                                             I.

                  Defendants are not likely to succeed on the merits. They
             do not claim that any court would likely hold that they are
             carrying out the will of Congress. They argue instead that other
             entities should have heard plaintiffs’ claims. Part A describes
             the strong likelihood that the plaintiffs who worked for Voice
             of America did not have to spend years attempting to channel
             their claims through federal labor and employment
             administrative processes before they could file this suit under
             the Administrative Procedure Act to set aside the Agency’s
             efforts to dismantle the work of Congress. It also defends the
             scope of the district court’s preliminary injunction as
             commensurate with defendants’ baby-with-the-bathwater
             approach to asserting their “policy priorities.” Part B turns to
             the strong likelihood that the district court had jurisdiction over
             the claims of Radio Free Asia and Middle East Broadcasting




                                                                                             Add. 19
USCA Case #25-5144     Document #2114139                 Filed: 05/03/2025        Page 17 of 39




                                             2
             Networks, contrary to contentions that those claims belong in
             the Court of Federal Claims.

                                            A.

                  On March 14, 2025, the President signed Executive Order
             14238, Continuing the Reduction of the Federal Bureaucracy,
             directing USAGM to “reduce the performance of [its] statutory
             functions and associated personnel to the minimum presence
             and function required by law,” and to eliminate “the non-
             statutory components and functions” of the agency “to the
             maximum extent consistent with applicable law.” 90 Fed. Reg.
             13043 (Mar. 14, 2025). The EO directed the head of USAGM
             to report its compliance to OMB with an explanation of “which
             components or functions of the governmental entity, if any, are
             statutorily required and to what extent.” Id. (emphasis added).

                  The very next day, USAGM’s website featured a statement
             announcing that the Agency—which it described as producing
             “radical propaganda,” “rot from top to bottom”—is
             “irretrievably broken” and “not salvageable.”1 Apparently
             having concluded that none of the functions of Voice of
             America or the foreign affiliate networks is statutorily required,
             the agency’s acting leadership proceeded to dismantle all of
             them.

                  To that end, the district court found, defendants “took
             immediate and drastic action to slash USAGM, without
             considering its statutorily or constitutionally required
             functions.” Widakuswara v. Lake, No. 1:25-CV-1015-RCL,
             2025 WL 1166400, at *14 (D.D.C. Apr. 22, 2025). The day

             1
              USAGM, Senior Advisor Kari Lake Cancels Obscenely Expensive
             15-Year-Lease that Burdened the Taxpayers and Enforces Trump’s
             Executive Order to Drastically Downsize Agency, U.S. AGENCY FOR
             GLOBAL MEDIA (Mar. 15, 2025), https://perma.cc/YQA4-3TVA.




                                                                                            Add. 20
USCA Case #25-5144     Document #2114139               Filed: 05/03/2025        Page 18 of 39




                                            3
             after the EO was signed, the agency’s acting leadership sent a
             boilerplate e-mail to 1,042 of the 1,147 full-time employees
             placing them on administrative leave and another such email to
             each USAGM affiliated network terminating its grant on the
             ground that it “no longer effectuates agency priorities.” Id. at
             *3 & n.5. The next day, the government cancelled all USAGM
             personal service contracts. It then instructed all the USAGM
             foreign news services to shut down their transmitters and place
             locally employed staff on leave. USAGM prepared to send
             termination notices to every radio broadcast technician
             working for it anywhere in the world who was not already in
             the process of retiring. Id. at *3. The government informed
             plaintiff AFGE of its plan to terminate 594 employees who are
             AFGE members. Id.

                   As a result of those wholesale actions, USAGM’s flagship
             station, Voice of America, stopped reporting the news “for the
             first time in its 80-year existence.” Id. Voice of America’s
             affiliate networks abroad went dark or switched to airing only
             music. Widakuswara Compl. ¶ 82.

                  The statute is clear: Voice of America must “serve as a
             consistently reliable and authoritative source of news.” 22
             U.S.C. § 6202(c)(1). The government touts that it did not
             challenge part (3) of the injunction compelling its compliance
             with that statutory directive. Gov’t Stay Mot. 1. But the
             significance of that caveat—beyond the purely symbolic—
             remains a mystery. The district court found as fact that the
             Agency has placed on leave or terminated all the VOA
             employees and contractors who are necessary to fulfilling that
             mandate. See Widakuswara Compl. ¶ 83 (all transmitters
             abroad shuttered and all locally employed staff placed on
             administrative leave). And there is no reason to conclude that
             the government is in fact complying with the injunction to get
             Voice of America back up and running. Plaintiff Abramowitz




                                                                                          Add. 21
USCA Case #25-5144      Document #2114139                Filed: 05/03/2025         Page 19 of 39




                                             4
             emailed Defendants Lake and Morales the morning after the
             district court entered the injunction, asking about their plans to
             bring VOA staff back to work. He received no response.
             Abramowitz Opp’n 21. No status report or other filing or
             source of information suggests that Voice of America has
             resumed broadcasting the news.

                   In support of its emergency motion for a stay pending
             appeal in the Voice of America cases, the government contends
             it is likely to succeed on the merits in its defense against the
             claims of Voice of America’s employees for two related
             reasons. First, as a threshold matter, it asserts that the district
             court lacked jurisdiction over the employee plaintiffs’ claims
             because the employees did not first seek relief from the Merit
             Systems Protection Board (MSPB) (for employment disputes),
             the Federal Labor Relations Authority (FLRA) (for labor
             disputes), or the Office of Special Counsel (for prohibited
             personnel practices). Gov’t Stay Mot. 20-21. Second, the
             government argues that the preliminary injunction is overbroad
             in ways that are unsupported by the claims the district court
             held were likely to succeed. Gov’t Stay Mot. 19-21.

                  1. The administrative channeling defense is inapposite
             here. The government contends that plaintiffs must treat their
             wholesale removal from the workplace as if it were an
             aggregation of individualized employment actions. It suggests
             that the correct response is for each of the hundreds of
             employees to proceed with a separate, identical administrative
             claim at the MSPB or FLRA. I would not indulge any such
             fiction. Defendants themselves never did. They took broad,
             blunt, and decisive action to gut USAGM and VOA. They sent
             identical notices to all VOA employees. Widakuswara Compl.
             ¶ 74. Nothing about each decision or its execution was
             individualized.      No employment-related rationale was




                                                                                             Add. 22
USCA Case #25-5144     Document #2114139               Filed: 05/03/2025        Page 20 of 39




                                            5
             offered—except the cold comfort that the action was not for
             any “disciplinary purpose.” Id.

                  Defendants give no realistic indication why administrative
             exhaustion is required here other than to weakly suggest that,
             viewed as individual employment actions, some “may be
             entirely lawful.” Gov’t Stay Mot. 21. The government leaves
             unsaid how review by the agencies it identifies could discern
             in any individualized sense how a wholesale removal of public
             sector employees from their jobs without employment-related
             grounds, notice, or prospects for return “may” be found to be
             lawful—or not—by the employment-review agencies to which
             they would direct the plaintiffs.

                  Even taken at face value, the government’s channeling
             argument is unlikely to succeed. See Widakuswara, 2025 WL
             1166400, at *10-11.          Channeling plaintiffs’ claims to
             administrative bodies designed to adjudicate individual
             employment or labor disputes would entirely shut off
             meaningful judicial review of the claims plaintiffs assert. The
             VOA plaintiffs challenge the dismantling of USAGM through
             the wholesale placement of employees on administrative leave
             with one boilerplate letter. The agency took that action without
             any employee-related justification. The announced reason
             defendants acted as they did was to dismantle a broadcaster
             whose mission and operation they disdain. That is not a
             “covered agency action[]” that must proceed through the
             administrative review scheme. Elgin v. Dep’t of Treasury, 567
             U.S. 1, 5-6, 10 (2012) (emphasis added). Nor is the action
             challenged here a matter of federal sector “employee relations”
             that must proceed through the Federal Labor Relations
             Authority. Cf. Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump,
             929 F.3d 748, 755 (D.C. Cir. 2019). The plaintiffs in this
             lawsuit challenge the evisceration of their jobs only insofar as




                                                                                          Add. 23
USCA Case #25-5144     Document #2114139                 Filed: 05/03/2025        Page 21 of 39




                                             6
             it is the means by which they challenge defendants’ unlawfully
             halting the work of Voice of America and shutting it down.

                  The channeling defense does not in any event reach all
             claims in the VOA cases. As the district court pointed out,
             Widakuswara, 2025 WL 1166400, at *10, there is no scenario
             in which the claims the nonprofit press organizations or
             personal service contractors raise could conceivably be
             channeled through the Federal Service Labor-Management
             Relations Statute, the Civil Service Reform Act, or the Foreign
             Service Act. There is no administrative agency from which
             plaintiffs Reporters Without Borders, Reporters Sans
             Frontières, or personal service contractors John Does 3 and 4
             might seek relief, even if it made sense for them to try. Given
             defendants’ failure to acknowledge or address the lack of any
             administrative process available to these plaintiffs, there is no
             basis to conclude the threshold challenge to the district court’s
             jurisdiction to hear these plaintiffs’ APA and constitutional
             claims is likely to succeed.

                  Plus, all the employees raise constitutional claims,
             including under the First Amendment, separation of powers,
             and the Take Care Clause. The government fails to
             acknowledge those claims. Constitutional claims are collateral
             to any review afforded by the Civil Service Reform Act and the
             Federal Service Labor-Management Relations Statute. Article
             III courts may retain jurisdiction over employment claims of
             federal employees that raise constitutional challenges. See
             Andrade v. Lauer, 729 F.2d 1475, 1493 (D.C. Cir. 1984)
             (retaining jurisdiction over allegation that officials responsible
             for reduction-in-force action held office in violation of the
             Appointments Clause); Weaver v. U.S. Info. Agency, 87 F.3d
             1429, 1433-34 (D.C. Cir. 1996) (retaining jurisdiction over
             employee’s First Amendment claim). The agencies’ lack of
             expertise or capacity to address plaintiffs’ properly framed




                                                                                            Add. 24
USCA Case #25-5144     Document #2114139                 Filed: 05/03/2025        Page 22 of 39




                                             7
             APA and constitutional claims is another reason the channeling
             requirement is unlikely to apply to them. See generally, Axon
             Enter., Inc. v. Fed. Trade Comm’n, 598 U.S. 175, 194 (2023)
             (“The Commission knows a good deal about competition
             policy, but nothing special about the separation of powers.”).
             Far more likely—and certainly more appropriate in every
             practical sense—is that the government’s mass action to
             eliminate virtually all the agency’s employees, like its action of
             wholesale elimination of the agency’s contractors, is subject to
             review directly in the district court to determine whether it was
             arbitrary or unlawful under the APA and in excess of the
             executive’s unilateral authority.

                  2. The plaintiffs are also likely to succeed in defending
             the district court’s injunction restoring the VOA employees to
             their pre-March 15 status as relief properly tailored to the
             employee-plaintiffs’ claims. The government protests that the
             district court issued a “broad programmatic order” to enforce
             compliance with a “broad statutory mandate,” which they
             claim exceeds the bounds of judicial review of agency actions
             set by Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871 (1990) and
             Norton v. S. Utah Wilderness All. (SUWA), 542 U.S. 55 (2004).
             Gov’t Stay Mot. 22-23. The fashioning of effective equitable
             relief is highly discretionary and context-specific. As applied
             here, the government’s cookie-cutter objection to the
             injunction in this case, entered by a highly experienced and
             able district judge based on a powerful record of extraordinary
             and categorical government conduct, does not persuade.

                  The scope of plaintiffs’ claims and the preliminary relief
             granted to preserve their chance of permanent relief should
             they prevail differs in important ways from what the Court
             deemed problematic in Lujan and SUWA. The plaintiffs in
             Lujan challenged the Department of the Interior’s operations in
             reviewing, classifying, and developing plans for various public




                                                                                            Add. 25
USCA Case #25-5144      Document #2114139                  Filed: 05/03/2025         Page 23 of 39




                                              8
             lands. 497 U.S. at 890. As the Supreme Court observed, the
             “so-called ‘land withdrawal review program’” they challenged
             was plaintiffs’ own construct. Id. The complaint did not “refer
             to a single [agency] order or regulation, or even to a completed
             universe of particular [agency] orders and regulations,” but to
             a “continuing” and “constantly changing” amalgam of
             discretionary activities. Id. Unsurprisingly, the Court saw no
             final, reviewable agency action in the “program” to which
             plaintiffs objected. The conduct plaintiffs challenge in this
             case is discrete and clear: halting the work of virtually all the
             employees working at Voice of America and bringing the
             operation of that station to a halt. What they asked the district
             court to revive and protect is no more than what Congress
             prescribed. The kind of difficulty described in Lujan is absent
             here. Here, there is no “continuing” and “constantly changing”
             set of agency operations being placed before the court.

                  This case is also not a “programmatic” challenge to agency
             policies and does not, contrary to the government’s
             remonstrance, require the court to run the agency. Defendants
             rely on SUWA, in which the Supreme Court rejected plaintiffs’
             request to force the Bureau of Land Management to comply
             with a statutory obligation to manage certain public lands “in a
             manner so as not to impair the suitability of such areas for
             preservation as wilderness.” 542 U.S. at 65 (quoting 43 U.S.C.
             § 1782(c)). Plaintiffs there urged the district court to order their
             preferred managerial regime by making the agency promulgate
             rules to prohibit the use of off-road vehicles. The Court
             observed that the statute at issue “assuredly [did] not mandate,
             with the clarity necessary to support judicial action . . . the total
             exclusion of [off-road vehicle] use.” Id. at 66. Unlike in
             SUWA, plaintiffs are not seeking to direct the court to bring into
             being an alternative suite of broadcast stations to the one that
             Congress defined and funded. Instead, there is a “completed
             universe” of agency actions that plaintiffs have alleged, and the




                                                                                               Add. 26
USCA Case #25-5144     Document #2114139                Filed: 05/03/2025        Page 24 of 39




                                            9
             district court agreed, are unlawful. Again, because they are
             likely to succeed in that claim, I would deny the stay.

                  The government cannot seriously contend on this posture
             that the relevant statutes—or more foundationally the
             constitutional separation of powers—permit the President to
             wholly scupper Voice of America and its affiliated Networks.
             Defendants characterize the claims as an impermissible attempt
             to clump together “many individual actions” and
             impermissibly challenge them as one under the APA. The fact
             that the government elected to take many unlawful agency
             actions in short order—thereby putting the whole agency on the
             chopping block—does not exempt their violations from
             judicial scrutiny. See Widakuswara, 2025 WL 1166400, at
             *11. Yes, the pace and scope of the government’s destructive
             efforts present the courts with remedial challenges in this and
             many other recent cases. But the very volume of lawbreaking
             and the scope of operational functioning laid waste does not
             add up to courts losing the power to determine the lawfulness
             of agency action. And the government has not meaningfully
             disputed that the statute mandates “with the clarity necessary
             to support judicial action” that the USAGM operations
             Congress ordered be established and funded must continue to
             exist absent congressional action to the contrary.

                                            B.

                  Defendants are similarly unlikely to succeed on the merits
             of their challenge to the preliminary injunction as it applies to
             Radio Free Asia (RFA) and Middle East Broadcasting
             Networks (MBN) (the Networks). Federal laws passed by
             Congress require the allocation of specified grant funding to
             the Networks. Nonetheless, defendants purported to terminate
             the Networks’ grant agreements and are withholding funds
             allocated to them on the stated grounds that each grant award




                                                                                           Add. 27
USCA Case #25-5144     Document #2114139                 Filed: 05/03/2025        Page 25 of 39




                                            10
             “no longer effectuates agency priorities.” Plaintiffs sued to halt
             defendants’ impoundment of those funds.

                  The Networks claim that the defendants’ funding freeze is
             in violation of the International Broadcasting Act and related
             statutes, and that its defiance of Congress’s directives in those
             laws is ultra vires and unconstitutional. The government
             counters that plaintiffs’ claims sound in contract, so must be
             dismissed because the Tucker Act grants the Court of Federal
             Claims exclusive jurisdiction over contract claims against the
             federal government. That “restrictive—and unprecedented—
             interpretation of [the district court’s jurisdiction] should be
             rejected because the remedy available to the [plaintiffs] in the
             Claims Court is plainly not the kind of ‘special and adequate
             review procedure’ that will oust a district court of its normal
             jurisdiction under the APA” and the Constitution. Bowen v.
             Massachusetts, 487 U.S. 879, 904 (1988).

                  “This court retains the power to make rational distinctions
             between actions sounding genuinely in contract and those
             based on truly independent legal grounds,” Megapulse, Inc. v.
             Lewis, 672 F.2d 959, 969-70 (D.C. Cir. 1982), and it is clear
             from the Networks’ complaint that this is not a “disguised,” id.
             at 969, run-of-the-mill contract action “within the unique
             expertise of the Court of Claims,” Ingersoll-Rand Co. v. United
             States, 780 F.2d 74, 78 (D.C. Cir. 1985). At its core, the
             Networks’ suit challenges the government’s assertion that it
             may disregard specific congressional funding directives when
             it disagrees with Congress’s policy choices. Interpreting the
             Tucker Act to deny the district court jurisdiction over a matter
             with such “serious implications for our constitutional
             structure,” In re Aiken Cnty., 725 F.3d 255, 267 (D.C. Cir.
             2013), is utterly inconsistent with both this court’s and the
             Supreme Court’s longstanding understanding of the Tucker
             Act as providing the exclusive forum for a narrow category of




                                                                                            Add. 28
USCA Case #25-5144      Document #2114139                Filed: 05/03/2025         Page 26 of 39




                                             11
             “actions based on government contracts.” Megapulse, 672
             F.2d at 967; see also United States v. Mottaz, 476 U.S. 834, 851
             (1986) (describing “the essence of a Tucker Act claim for
             monetary relief” as one requesting “damages for the
             Government’s past acts”); Crowley Gov’t Servs., Inc. v. Gen.
             Servs. Admin., 38 F.4th 1099, 1107 (D.C. Cir. 2022) (“[W]e
             have explicitly rejected the ‘broad’ notion ‘that any case
             requiring some reference to or incorporation of a contract is
             necessarily on the contract and therefore directly within the
             Tucker Act’ because to do so would ‘deny a court jurisdiction
             to consider a claim that is validly based on grounds other than
             a contractual relationship with the government.’”) (quoting
             Megapulse, 672 F.2d at 967-68). “It [is] nothing less than
             remarkable to conclude that Congress intended judicial review
             of these complex questions of [constitutional law] to be
             reviewed in a specialized forum such as the Court of Claims.”
             Bowen, 487 U.S. at 908.

                  To determine whether the Court of Federal Claims has
             exclusive jurisdiction, we must look to the source of the rights
             plaintiffs assert and the nature of the relief they seek. “The
             classification of a particular action as one which is or is not ‘at
             its essence’ a contract action depends both on the source of the
             rights upon which the plaintiff bases its claims, and upon the
             type of relief sought (or appropriate).” Megapulse, 672 F.2d at
             968. The following explains in more detail why the district
             court likely had jurisdiction to declare unlawful and enjoin the
             challenged agency action.

                  1. Consider the source of plaintiffs’ rights. In identifying
             their source, we consider factors including whether “the
             plaintiff’s asserted rights and the government’s purported
             authority arise from statute,” and “whether the plaintiff’s rights
             exist prior to and apart from rights created under the contract.”
             Crowley, 38 F.4th at 1107 (internal citations omitted and




                                                                                             Add. 29
USCA Case #25-5144     Document #2114139               Filed: 05/03/2025        Page 27 of 39




                                           12
             formatting altered). Here, the plaintiffs’ asserted rights arise
             from federal statutes and the Constitution, and they exist
             independent of any contract with USAGM. See MBN Compl.
             ¶¶ 58-60, 65-68, 77-97; RFA Compl. ¶¶ 58-60, 65-68, 77-97.
             As such, the Networks’ claims belong in the district court, not
             the Court of Claims.

                  First, the Networks claim that the government has acted
             contrary to the APA, the Networks’ governing statutes, and
             congressional appropriations. By freezing their funding,
             defendants have placed them in dire financial consequences
             and will force them out of existence within a matter of days.
             Federal law established Radio Free Asia and Middle East
             Broadcasting Networks and required allocation of funds to
             those specific, named entities to enable them to “provide
             accurate and timely information, news, and commentary” to
             Asia and the Middle East, and to “be a forum for a variety of
             opinions and voices from within Asian nations whose people
             do not fully enjoy freedom of expression.” 22 U.S.C. §
             6208(a)-(b); see Emergency Wartime Supplemental
             Appropriations Act of 2003, Pub. L. No. 108-11, 117 Stat. 559,
             562 (2003).       Congress, with the President’s approval,
             appropriated funds earmarked for MBN and RFA to carry out
             statutorily assigned functions.        Further Consolidated
             Appropriations Act of 2024, Pub. L. No. 118-47, div. F, tit. I,
             138 Stat. 460, 735 (2024) (requiring appropriated funds to be
             “allocated in accordance with the table included … in the
             explanatory statement described in section 4”); Explanatory
             Statement Submitted by Ms. Granger, Chair of the House
             Committee on Appropriations, Regarding H.R. 2882, Further
             Consolidated Appropriations Act, 2024, 170 Cong. Rec.
             H1501, H2089 (Mar. 22, 2024) (table designating $60,830,000
             to be allocated to RFA and $100,000,000 to MBN).




                                                                                          Add. 30
USCA Case #25-5144     Document #2114139                 Filed: 05/03/2025        Page 28 of 39




                                            13
                  The Networks also point to Congress’s direction that funds
             appropriated for RFA and MBN “shall be allocated” to those
             entities. 2024 Appropriations Act, 138 Stat. at 735 (emphasis
             added); 22 U.S.C. § 6204(a)(5) (USAGM is to “make and
             supervise” the grants to the networks). And Congress
             expressly requires USAGM to provide RFA and MBN virtually
             all the funds appropriated for each network, strictly confining
             USAGM’s reprogramming authority to at most 5% of a
             network’s allocation. 2024 Appropriations Act, 138 Stat. at
             735; Full-Year Continuing Appropriations and Extensions Act,
             2025, Pub. L. No. 119-4, div. A, § 1101 (2025). The statute
             allows USAGM to terminate a grant to RFA only for “failure
             to comply with” the requirement “that grant funds be used only
             for activities consistent with” the statute.         22 U.S.C.
             § 6208(c)(5). Those specific provisions govern over the
             general regulatory prerogative the government cites. The
             Agency has not asserted that RFA or MBN did anything
             inconsistent with their statutory mandates, but it has
             nonetheless acted to “terminate” their grants and freeze all their
             funding. Plaintiffs bring a classic APA challenge to the
             Agency’s impoundment of funds—agency action that is both
             arbitrary and heedless of Congress’s commands.

                  In sum, Congress called for the Networks to be established
             as private nonprofit entities supported by federal
             appropriations. It called for them to be maintained for the
             purpose of broadcasting uncensored journalism, especially to
             countries that restrict freedom of speech. And Congress made
             appropriations explicitly allocating funds to RFA and MBN by
             name. Those provisions tightly restrict the use of the
             Networks’ funds for any other purpose. The Networks claim
             that the Agency acted contrary to those congressional
             directives when it impounded funds appropriated to support
             their operations. Their claims that the Agency violated the




                                                                                            Add. 31
USCA Case #25-5144     Document #2114139               Filed: 05/03/2025        Page 29 of 39




                                           14
             International Broadcasting Act and the 2024 and 2025
             Appropriations Acts thus arise from statute, not from contract.

                  Second, the complaint raises various constitutional claims.
             Plaintiffs allege that defendants acted beyond the Executive’s
             authority by effectively repealing duly enacted law establishing
             the Networks for specified purposes and by freezing the funds
             Congress allotted to them. They frame those claims as
             violations of the separation of powers, the Presentment Clause,
             the Appropriations Clause, the Spending Clause, and the Take
             Care Clause. MBN Compl. ¶¶ 77-97; RFA Compl. ¶¶ 77-97.
             Constitutional claims for injunctive or declaratory relief face
             no sovereign immunity bar, per the Larson-Dugan exception.
             See Pollack v. Hogan, 703 F.3d 117, 120 (D.C. Cir. 2012)
             (“Under [the Larson-Dugan] exception, suits for specific relief
             against officers of the sovereign allegedly acting beyond
             statutory authority or unconstitutionally are not barred by
             sovereign immunity”) (internal quotation marks omitted);
             Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682, 690-
             91 (1949); Dugan v. Rank, 372 U.S. 609, 621-22 (1963). The
             government’s stay motion does not dispute that the Court of
             Claims could not adjudicate plaintiffs’ constitutional claims,
             see LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir.
             1995), and the government does not appear to contest the
             district court’s jurisdiction over them.

                  Defendants dispute plaintiffs’ framing of their claims as
             statutory and constitutional. They argue that, because the
             Networks are funded by grants, plaintiffs’ challenge to the
             impoundment must be treated as a breach of contract claim that
             belongs in the Court of Claims. Reply at 3. That
             misapprehends the plaintiffs’ case. Their claim of entitlement
             rests on USAGM’s alleged contravention of applicable
             statutory and constitutional constraints—not the terms of any
             particular contract. As the Networks note, if the grant




                                                                                          Add. 32
USCA Case #25-5144     Document #2114139                Filed: 05/03/2025        Page 30 of 39




                                            15
             agreements never existed at all, they would have the same
             claims against USAGM.             RFA/MBN Br. 14.           The
             Congressional basis of their entitlement precedes the individual
             grants that deliver their allocations. Cf. Spectrum Leasing
             Corp. v. United States, 764 F.2d 891, 894 (D.C. Cir. 1985).
             USAGM’s use of grants as a vehicle to deliver appropriated
             funds to the Networks does not “automatically transform” their
             case into a contract action. Megapulse, 672 F.2d at 968.

                  What matters is what the court must examine to resolve the
             case: If a plaintiff’s claim depends on interpretations of
             statutes and regulations rather than the terms of an agreement
             negotiated by the parties, the claim is not in essence
             contractual. Crowley, 38 F.4th at 1109-10 (claim was
             statutory, not contractual, when it “require[d] primarily an
             examination of the statutes”). Judge Bork’s opinion for our
             court in Maryland Department of Human Resources v. U.S.
             Department of Health and Human Services, 763 F.2d 1441
             (D.C. Cir. 1985), illustrates the point. We recognized there that
             the state’s claim to funding under a federal grant-in-aid
             program for social workers’ training expenses bore some
             resemblance to “a request for specific performance of a
             contract that obliges the promisor to pay money.” Id. at 1449.
             But we held that, because “federal grant programs originate in
             and remain governed by statutory provisions expressing the
             judgment of Congress concerning desirable public policy,” the
             state’s claim of entitlement was not within the Court of Claims’
             jurisdiction over contracts with the government. Id. (quoting
             Bennett v. Kentucky Dep’t of Educ., 470 U.S. 656, 669 (1985)).

                 The majority submits that, “[o]nce the agency entered
             these contracts” appropriating the congressionally specified
             funds to the Networks, “it incurred a new obligation” to make
             monthly grant payments, and any claims of nonpayment “are
             squarely contract claims under the Tucker Act.” Maj. at 8. But




                                                                                           Add. 33
USCA Case #25-5144     Document #2114139                Filed: 05/03/2025        Page 31 of 39




                                            16
             we have long since rejected the notion that “an agency action
             may not be enjoined, even if in clear violation of a specific
             statute, simply because that same action might also amount to
             a breach of contract.” Megapulse, 672 F.2d at 971. As we
             explained in Megapulse, the majority’s premise allows the
             government to “avoid injunctions against activities violative of
             a statutory duty simply by contracting not to engage in those
             activities. Because government involvement in any such
             activities would thereby also constitute a breach of a contract
             term, any injunction would be equivalent to an award of
             specific performance, which, as a matter of public policy, is not
             available against the government.” Id. There, we held that
             “[w]e cannot accept such an interpretation of the law.” Id. The
             majority does not explain under what authority or reasoning it
             decides that it can accept such an interpretation today.

                  2. Consider next the type of relief sought. On this point,
             “[t]he crux of this inquiry . . . boils down to whether the
             plaintiff effectively seeks to attain money damages in the suit.”
             Crowley, 38 F.4th at 1107. Here we must look at the causes of
             action in plaintiffs’ complaints. Greenhill v. Spellings, 482
             F.3d 569, 573 (D.C. Cir. 2007) (“Jurisdiction is determined by
             looking to the complaint.”). RFA and MBN seek injunctive
             and declaratory relief. No count sounds in contract, and none
             seeks money damages for breach. Plaintiffs’ claims therefore
             do not belong in the Court of Claims, which exists to provide a
             centralized, specialized forum to resolve “actions based on
             government contracts,” Megapulse, 672 F.2d at 967, which
             result in “naked money judgment[s] against the United States,”
             Bowen, 487 U.S. at 905; see also Kidwell v. Dep’t of Army, Bd.
             for Correction of Mil. Recs., 56 F.3d 279, 284 (D.C. Cir. 1995).

                 True, courts must be wary of plaintiffs who seek to avoid
             Tucker Act jurisdiction by “disguising a money claim as a
             claim requesting a form of equitable relief.” Kidwell, 56 F.3d




                                                                                           Add. 34
USCA Case #25-5144      Document #2114139                Filed: 05/03/2025         Page 32 of 39




                                             17
             at 284. But that risk is not present here. The reality that the
             Networks’ funding is at stake does not change the analysis:
             “The fact that a judicial remedy may require one party to pay
             money to another is not a sufficient reason to characterize the
             relief as ‘money damages.’” Bowen, 487 U.S. at 893; Kidwell,
             56 F.3d at 284 (prospect that “success on the merits may
             obligate the United States to pay the complainant” does not
             make a claim one for “money damages”).

                  The Supreme Court in Bowen distinguished orders for
             specific relief—there, an order directing the Secretary to
             reverse his refusal to financially reimburse the state—from
             money damages. Money damages “refers to a sum of money
             used as compensatory relief” that “substitutes for that which
             ought to have been done.” 487 U.S. at 895, 910. When
             plaintiffs seek funds under statutory entitlement, rather than as
             compensation for losses suffered, the funds are not “money
             damages” for purposes of the Tucker Act. Md. Dep’t of Hum.
             Res., 763 F.2d at 1446; Nat’l Ctr. for Mfg. Scis. v. United
             States, 114 F.3d 196, 200 (Fed. Cir. 1997).               Unlike
             disgorgement of funds owed, “money damages represent
             compensatory relief, an award given to a plaintiff as a
             substitute for that which has been lost.” Am.’s Cmty. Bankers
             v. FDIC, 200 F.3d 822, 829 (D.C. Cir. 2000).

                  The type of relief plaintiffs seek is unavailable in the Court
             of Federal Claims, which “has no power to grant equitable
             relief.” Bowen, 487 U.S. at 905. RFA and MBN are seeking
             more than the restoration of their past-due funding for April;
             they also request a declaration that USAGM is “required by law
             to take all necessary steps” to ensure that USAGM disburses to
             them “all congressionally appropriated funds through
             September 30, 2025” and an injunction against future
             withholding of congressionally appropriated funds. RFA
             Compl. 24-25; MBN Compl. 24-25. The Court of Federal




                                                                                             Add. 35
USCA Case #25-5144      Document #2114139                  Filed: 05/03/2025         Page 33 of 39




                                              18
             Claims’ lack of authority to address these aspects of plaintiffs’
             claims underscores why it is not the appropriate court. See
             Crowley, 38 F.4th at 1109; Nat'l Ctr. for Mfg. Scis., 114 F.3d
             at 201. When a private entity funded by federal appropriations
             has “a cooperative, ongoing relationship” with the agency “in
             the allocation and use of the funds,” a simple money judgment
             is unlikely to be fitting relief. Nat'l Ctr. for Mfg. Scis., 114 F.3d
             at 201.

                  3. The stay order in Department of Education v.
             California, 145 S. Ct. 966 (2025), does not change the
             landscape. Unlike the Networks here, the Department of
             Education plaintiffs raised no constitutional claim. Their only
             claim was to sums awarded to them in previously awarded
             discretionary grants. Those plaintiffs were not entities created
             by statute and designated by Congress to receive specified
             sums. The equities there were also very different: The Court
             relied on the Department of Education plaintiffs’
             representation that they had financial resources, even without
             the grant funding, to keep their programs running during the
             litigation. RFA and MBN have no financial cushion and are on
             the verge of collapse.

                  This case is more like Department of State v. AIDS
             Vaccine Advocacy Coalition, 145 S. Ct. 753 (2025), in which
             the Supreme Court declined to stay interim injunctive relief
             despite assertions that the plaintiffs’ statutory claims were
             really claims for monetary relief that belonged in the Court of
             Claims. See id. at 756 (Alito, J., joined by Thomas, Gorsuch,
             and Kavanaugh, JJ., dissenting from the denial of the
             application to vacate the district court’s order). The plaintiffs
             in AIDS Vaccine Advocacy Coalition, like the Networks here,
             claimed a right to be free from government action—the
             wholesale termination of the plaintiffs’ grant funding—they
             claimed exceeded the authority conferred by statute and the




                                                                                               Add. 36
USCA Case #25-5144     Document #2114139               Filed: 05/03/2025        Page 34 of 39




                                           19
             Constitution. As here, their claims did not depend on whether
             their contracts were breached, but on whether the agency’s
             policy directives were unlawful in the face of federal statutes
             appropriating funds for specific purposes. To the extent that
             the Supreme Court’s action on emergency stay orders
             influences how we apply binding precedent of that court and
             this one, it favors denying the stay here as in AIDS Vaccine
             Advocacy Coalition.

                                           II.

                  1. Plaintiffs in each case have established that they will
             suffer irreparable injury if the district court’s preliminary
             injunction is stayed. The plaintiffs in the two VOA lawsuits
             will be substantially and irreparably injured by the stay. VOA
             has not published or aired a single piece of news content since
             March 15, 2025. Abramowitz Decl. ¶ 33. “Its website is
             frozen, its radio and television channels are looping filler
             material, and its newsroom has shuttered.” Id.           VOA’s
             journalists have been unable to exercise their First Amendment
             rights to free speech and free press. And the “loss of First
             Amendment freedoms, for even minimal periods of time,
             unquestionably constitutes irreparable injury.” Nat’l Ass’n of
             Mfrs. v. SEC, 800 F.3d 518, 559 (D.C. Cir. 2015) (quoting
             Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality)).

                  Each day that passes without VOA publishing any content
             only compounds the irreparable harm: The stifling of its
             distinctive journalistic voice, the erosion of its audience, and
             the breach of the trust of every reporter and listener who has
             relied on its broadcasts. The blight on VOA’s reputation, and
             that of the United States, when a publicly sponsored news
             source with an eight-decade track record of reliability is
             shuttered under accusations of fraud, waste, and producing
             “anti-American content,” Abramowitz Decl. ¶¶ 44-45, will




                                                                                          Add. 37
USCA Case #25-5144     Document #2114139                 Filed: 05/03/2025        Page 35 of 39




                                            20
             only fester while the preliminary injunction is stayed. The
             asserted harm to VOA’s reputation is irreparable. See, e.g.,
             Beacon Assocs., Inc. v. Apprio, Inc., 308 F. Supp. 3d 277, 288
             (D.D.C. 2018); Patriot, Inc. v. HUD, 963 F. Supp. 1, 5 (D.D.C.
             1997).

                  VOA employees also will be exposed to irreparable
             professional and personal consequences absent injunctive
             relief. For example, plaintiff John Doe 3, a foreign national on
             a J-1 visa, is a journalist working for VOA as a personal service
             contractor. Widakuswara Compl. ¶ 22. His home country is
             governed by an authoritarian regime that has labeled VOA a
             “subversive organization.” Id. John Doe 4 is a VOA contractor
             whose home country is hostile to LGBTQ people like himself.
             Id. ¶ 23. The district court found that “defendants’ actions
             virtually ensure that Does 3 and 4 will be subject to deportation
             immediately,” and may face elevated risks in their home
             countries because of the work they did under the auspices of
             USAGM. Widakuswara, 2025 WL 1166400, at *16.

                  That the USAGM employees and personal service
             contractors are currently receiving full pay and benefits does
             not erase the harm. The government’s own announced
             assessment that the existing agency was beyond repair spells
             widespread terminations once the injunction is stayed. The
             district court recounted the March 25, 2025, notice from
             USAGM’s HR Director to Plaintiff AFGE that it had decided
             to terminate 594 AFGE members working for USAGM.
             Widakuswara, 2025 WL 1166400, at *3. That notice is a red
             flag for USAGM employees once the preliminary injunction is
             lifted. As to the personal service contractors, they are currently
             receiving full pay and benefits only because of court
             intervention; USAGM withheld the termination order only
             after the U.S. District Court for the Southern District of New
             York issued a temporary restraining order to halt it.




                                                                                            Add. 38
USCA Case #25-5144     Document #2114139               Filed: 05/03/2025        Page 36 of 39




                                           21
             Widakuswara Opp’n 2 n.2. The district court also foresaw
             irreparable harm to plaintiff Reporters Sans Frontières in the
             absence of a preliminary injunction because “VOA’s silence
             injured [its] ability to distribute its broadcasting and amplify
             press freedom concerns.” Widakuswara, 2025 WL 1166400,
             at *8. Defendants have not challenged that finding on appeal.

                  2. RFA and MBN face existential harm absent injunctive
             relief. Contrary to defendants’ assertions, the imminent
             injuries that the affiliated Networks and their employees face
             cannot be remedied by money damages at some unspecified
             date in the future. RFA “now expects that it does not have
             enough funds to get through May 9, 2025, absent extreme
             measures.” Second Fleming Decl. ¶ 8. At the start of this
             litigation, MBN employed more than 500 people. Because
             USAGM withheld its statutorily mandated funding, by April
             12 MBN had been forced to lay off 90 per cent of those
             employees. Second Kline Decl. ¶ 3. Layoffs of remaining staff
             and the organization’s bankruptcy are imminent once the
             preliminary injunction is stayed. Id. ¶ 12. The network “will
             cease to exist except on paper” no later than May 31, 2025. Id.
             ¶ 15. That existential threat should have moved this court to
             deny the government’s stay motion.

                  RFA employees, represented by Plaintiff NewsGuild-
             CWA in the Widakuswara suit, also face unplanned, costly, and
             stressful dislocations they would not have suffered absent the
             agency’s challenged actions. Many RFA employees, including
             NewsGuild members—work in the United States under H1-B
             visas. Schleuss Decl. ¶ 8. Losing their jobs likely means
             deportation to their home countries. Professionals who have
             served the USAGM mission of bringing objective news
             coverage to people living under repressive regimes, including
             in some cases their own home countries, may have to return to
             countries “that persecute journalists for reporting the news,”




                                                                                          Add. 39
USCA Case #25-5144     Document #2114139                 Filed: 05/03/2025        Page 37 of 39




                                            22
             making them all the more vulnerable because of the service
             they have rendered to USAGM. Id.

                  3. Meanwhile, the government is unable to identify
             substantial harm it would suffer if the preliminary injunction
             were not stayed. It principally points to the order’s restriction
             of its authority to manage the agency and its employees. The
             nature of injunctive relief is to interfere with what the enjoined
             party would otherwise do. And when agency action that a court
             concludes is likely unlawful is on a grand scale, an appropriate
             preliminary injunction must have scope commensurate to that
             of the challenged deeds. That much is unavoidable. The
             district court nonetheless made clear it respected the
             government’s lawful prerogatives. In denying its motion for
             stay pending appeal, the court reiterated that USAGM retains
             its discretionary management authority: “When USAGM
             returns to pre-March 14 functioning, as is required by the PI,
             the injunction does not prevent USAGM from executing
             personnel decisions for reasons unrelated to the Executive
             Order . . . such execution of normal operations would, to the
             contrary, be in accordance with the status quo pre-March 14.”
             Order Denying Motion for Stay Pending Appeal at 5 [ECF No.
             104] (emphasis added).

                  Defendants also protest that the preliminary injunction
             “does not account for the various costs associated with
             reinstating all employees and contractors.” Gov’t Stay Mot.
             25. Again, the cost of that restoration is proportionate to the
             dislocation the government chose to undertake. There are less
             precarious ways to effect institutional change that might be
             easier to dial back. In eschewing them, the government
             presumably accepts the heightened risk calculus attending its
             preferred approach. But it cannot “be heard to complain about
             damage inflicted by its own hand.” Pennsylvania v. New
             Jersey, 426 U.S. 660, 664 (1976).




                                                                                            Add. 40
USCA Case #25-5144     Document #2114139                Filed: 05/03/2025        Page 38 of 39




                                            23
                  Nor has the government demonstrated that restoration of
             congressionally appropriated funds to the Networks amounts to
             irreparable harm. Plaintiffs have shown that they are likely
             entitled to that relief. The government may be right that it
             would be unable to recover that money once handed over. The
             Networks are entirely dependent on it to stay afloat and, if they
             had it in hand, would promptly use it for that purpose. That
             said, the harm to the government from being required to release
             funds that are statutorily earmarked for the very purpose and
             entity to which the injunction directs them—funds that are
             legally restricted against reprogramming to other functions or
             entities—seems less substantial than the loss of the same
             amount of money might be in another circumstance.

                  4. That leaves only the public interest. Duly enacted
             legislation, fashioned by Congress and signed by the President,
             is a strong indicator of where the public interest lies. See
             League of Women Voters of the U.S. v. Newby, 838 F.3d 1, 12
             (D.C. Cir. 2016). Congress founded, supported, and expanded
             the family of USAGM broadcast networks. It started with
             Voice of America to counter Nazi propaganda. In response to
             the need to more actively counter anti-American narratives
             with concrete and timely factual reporting, Congress has
             established affiliate networks in various regions of the world—
             Europe, Asia, and the Middle East. Dismantling that family of
             networks cannot be squared with the public interest. By
             contrast, restoring VOA, RFA, and MBN to operate as
             Congress intended, providing news that that is “consistently
             reliable and authoritative, accurate, objective, and
             comprehensive” serves the interest of the American people. 22
             U.S.C. § 6202(b).

                  The district court’s preliminary injunction was tailored to
             provide necessary relief to the plaintiffs while the courts work
             to resolve their claims on the merits. The panel errs in staying




                                                                                           Add. 41
USCA Case #25-5144      Document #2114139                Filed: 05/03/2025         Page 39 of 39




                                             24
             that injunction. Rather than preserving the relative positions of
             the parties, this stay all but guarantees that the networks will no
             longer exist in any meaningful form by the time this case is
             fully adjudicated. I regret that networks charged with
             exemplifying the ideals of free speech, free opinion, and a free
             press to the world at large are silenced by our own
             government’s action in disregard of the expressed will of
             Congress—actions that, as the district court most ably
             explained, are likely to be found unlawful.

                 I respectfully dissent.




                                                                                             Add. 42
Case 1:25-cv-00907-RCL   Document 25   Filed 04/25/25   Page 1 of 2




                                                                      Add. 43
Case 1:25-cv-00907-RCL   Document 25   Filed 04/25/25   Page 2 of 2




                                                                      Add. 44
Case 1:25-cv-00966-RCL   Document 23   Filed 04/25/25   Page 1 of 2




                                                                      Add. 45
Case 1:25-cv-00966-RCL   Document 23   Filed 04/25/25   Page 2 of 2




                                                                      Add. 46
      Case 1:25-cv-01015-RCL          Document 98        Filed 04/22/25     Page 1 of 37




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 PATSY WIDAKUSWARA, et al.,

        Plaintiffs,

 v.                                                       Case No. 1:25-cv-1015-RCL

 KARI LAKE, in her official capacity as
 Senior Advisor to the Acting CEO of the U.S.
 Agency for Global Media, et al.,

        Defendants.


                                 MEMORANDUM OPINION

       Before the Court is the plaintiffs’ Motion for a Preliminary Injunction, which seeks to

enjoin the defendants from dismantling the United States Agency for Global Media (USAGM) in

response to Executive Order 14238, “Continuing the Reduction of the Federal Bureaucracy,”

announced by President Trump on March 14, 2025. The plaintiffs allege that USAGM’s actions,

purportedly in furtherance of the Executive Order—terminating and threatening to terminate the

majority of USAGM staff, ending grants to its affiliates, and silencing programming—violate the

First Amendment, constitutional separation of powers principles, the Take Care Clause, and

statutory provisions including the Administrative Procedure Act (APA), International

Broadcasting Act, and congressional appropriations acts. Broadly, the plaintiffs ask this Court to

order the defendants to take all necessary steps to return USAGM and its employees, contractors,

and grantees to their status prior to the March 14, 2025 Executive Order.

       For the reasons contained herein, the Motion for a Preliminary Injunction will be

GRANTED IN PART and DENIED IN PART. The Court will GRANT the Motion as it applies

to the defendants’ actions to shutter the USAGM entities Voice of America, Radio Free Asia, and




                                                1
                                                                                                Add. 47
        Case 1:25-cv-01015-RCL                   Document 98          Filed 04/22/25          Page 2 of 37




Middle East Broadcasting Networks. The Court will DENY the Motion as to the other affiliated

network entities.

                                            I.     BACKGROUND

         A. Factual History

         USAGM is an independent executive agency established by Congress with the mission to

“inform, engage, and connect people around the world in support of freedom and democracy.”

Mission, U.S. AGENCY FOR GLOBAL MEDIA, https://www.usagm.gov/who-we-are/mission/

[https://perma.cc/PK9M-Y32T]. It oversees six federally funded broadcast networks, the largest

being Voice of America (VOA). VOA’s first broadcast took place during World War II, uttering

the now “immortal words”: “The news may be good or bad; we shall tell you the truth.” History,

U.S.      AGENCY         FOR       GLOBAL         MEDIA,         https://www.usagm.gov/who-we-are/history/

[https://perma.cc/27Y5-A8CP]. Congress codified that promise into law in 1976 in VOA’s

charter, declaring that VOA “will serve as a consistently reliable and authoritative source of news

[that is] accurate, objective, and comprehensive.” 22 U.S.C. § 6202(c).

         Since then, five related entities have been established to further USAGM’s mission: a

federal entity within USAGM known as the Office of Cuba Broadcasting (OCB), and four

independent networks: Radio Free Europe/Radio Liberty (RFE/RL), Radio Free Asia (RFA),

Middle East Broadcasting Network (MBN), and the Open Technology Fund (OTF) (collectively,

“the Networks”).1 Together, these entities have “exported the cardinal American values of free



1
  Each of the Networks has filed a lawsuit in this Court seeking disbursement of congressionally appropriated funds.
See RFE/RL v. Lake, 25-cv-799 (RCL) (filed Mar. 18, 2025); Open Technology Fund v. Lake, 25-cv-840 (RCL) (filed
Mar. 20, 2025); Radio Free Asia v. United States, 25-cv-907 (RCL) (filed Mar. 27, 2025); Middle East Broadcast
Networks v. United States, 25-cv-966 (RCL) (filed Apr. 1, 2025). OTF originally sought injunctive relief for access
to its March funding, but before the Court ruled on its motion, the government processed OTF’s March drawdown
request. See Notice of Withdrawal of TRO Motion, Open Technology Fund v. Lake, 25-cv-840 (RCL), ECF No. 19.
OTF has not moved for any additional injunctive relief since, and as such, the Court will cabin the relief granted herein



                                                           2
                                                                                                                       Add. 48
        Case 1:25-cv-01015-RCL               Document 98          Filed 04/22/25         Page 3 of 37




speech, freedom of the press, and open debate to the dark corners of the world where independent,

objective coverage of current events is otherwise unavailable.” Turner v. U.S. Agency for Glob.

Media, 502 F. Supp. 3d 333, 341–42 (D.D.C. 2020).

        All six of these entities are funded by the United States government. Specifically, VOA

and OCB are located within the federal government, whereas RFA, RFE/RL, MBN, and OTF are

private non-profit organizations that receive funding through congressional appropriations

disbursed via grant agreements with USAGM. Structure, U.S. AGENCY FOR GLOBAL MEDIA,

https://www.usagm.gov/who-we-are/organizational-chart/                    [https://perma.cc/ZWY5-GGDB].

Every year, Congress appropriates funds to USAGM and further allocates those funds to VOA,

OCB, and each of the Networks, with a line-item amount designated to each entity. As is relevant

here, in the 2024 Appropriations Act, Congress appropriated $857 million to USAGM for Fiscal

Year (FY) 2024 and mandated how those funds “shall be allocated” pursuant to an “explanatory

statement.” Further Consolidated Appropriations Act of 2024, Pub. L. No. 118-47, div. F, tit. I,

138 Stat. 460, 735 (2024) (requiring funds to be allocated in accordance with table in “the

explanatory statement” described in section 4”); id. § 4 (identifying explanatory statement). The

explanatory statement sets forth a table with earmarked funding amounts for VOA, OCB, and each

of the Networks.        Explanatory Statement Submitted by Ms. Granger, Chair of the House

Committee on Appropriations, Regarding H.R. 2882, Further Consolidated Appropriations Act,

2024, 170 Cong. Rec. H1501, H2089 (Mar. 22, 2024) (providing table designating how funds

appropriated for international broadcasting “are allocated”). For FY 2024, Congress allocated


to only those USAGM affiliated networks that have outstanding motions for injunctive relief. The status of RFE/RL,
RFA, and MBN’s lawsuits is detailed at Section I.B.i, infra.
The OCB, though initially shut down by the EO, has resumed functioning; OCB employees who were placed on
administrative leave were called back to work on March 26, 2025, and OCB resumed radio service and television
broadcasting within a day. See Second Decl. of Crystal Thomas, Human Resources Director for USAGM (“Second
Thomas Decl.”), at ¶ 6, ECF No. 88-4.



                                                        3
                                                                                                                Add. 49
       Case 1:25-cv-01015-RCL          Document 98        Filed 04/22/25      Page 4 of 37




$260 million for VOA; $25 million for OCB; $142.2 million for RFE/RL; $60.8 million for RFA;

$100 million for MBN; and $43.5 million for OTF. Id (listing each entity with a corresponding

funding amount for the fiscal year).

       In three continuing resolutions covering FY 2025, Congress funded USAGM at the same

levels, and subject to the same conditions, as it funded USAGM in FY 2024. See Continuing

Appropriations and Extensions Act, 2025, Pub. L. No. 118-83, div. A, § 101(11), 138 Stat. 1524–

25 (2024) (“First Continuing Resolution”) (appropriating funds as provided in certain FY 2024

appropriations laws and making them available through December 20, 2024); American Relief

Act, 2025, Pub. L. No. 118-158, 138 Stat. 1722 (2024) (“Second Continuing Resolution”)

(extending funding through March 14, 2025); Full-Year Continuing Appropriations and

Extensions Act, 2025, Pub. L. No. 119-4, div. A, § 1101 (2025) (“Third Continuing Resolution”)

(extending funding through September 30, 2025). Most relevant here, effective March 15, 2025,

Congress passed and President Trump signed into law the Third Continuing Resolution, which

appropriates funding to USAGM and the associated Networks through September 30, 2025. Under

the appropriations acts, USAGM has limited discretion to “reprogram” a small fraction of these

funds among different programs, but only if it gives the House and Senate Appropriations

Committees fifteen days’ advance notice. 2024 Appropriations Act, div. F, tit. I, 138 Stat. 735; see

170 Cong. Rec. at H2087. And in no event may any reprogramming reduce funding for a program

by more than five percent of what Congress designated. Id.

       On March 14, 2025, President Donald Trump issued Executive Order 14238 entitled

“Continuing the Reduction of the Federal Bureaucracy” (the “EO”). 90 Fed. Reg. 13043 (Mar.




                                                 4
                                                                                                  Add. 50
        Case 1:25-cv-01015-RCL              Document 98          Filed 04/22/25         Page 5 of 37




14, 2025).2 The EO demands that “the non-statutory components and functions of [USAGM] shall

be eliminated to the maximum extent consistent with applicable law,” and directs the head of

USAGM to “submit a report to the Director of the Office of Management and Budget confirming

full compliance with this order and explaining which components or functions of the governmental

entity, if any, are statutorily required and to what extent.” Id.

        The following day, on March 15, 2025, the White House published an article entitled “The

Voice of Radical America,” which states: “President Donald J. Trump’s [EO] on Friday will ensure

that taxpayers are no longer on the hook for radical propaganda.”3 USAGM also posted an update

on its website stating: “This agency is not salvageable. From top-to-bottom this agency is a giant

rot and burden to the American taxpayer—a national security risk for this nation—and irretrievably

broken. While there are bright spots within the agency with personnel who are talented and

dedicated public servants, this is the exception rather than the rule.”4

        From March 15, 2025 onward, the acting leadership of USAGM has taken a series of

actions purportedly in furtherance of the EO’s directive. On March 15, 2025, USAGM placed

1,042 employees on administrative leave.5 First Declaration of Crystal Thomas, Human Resources

Director for USAGM (“First Thomas Decl.”) ¶ 6, ECF No. 43. That same day, all USAGM grantee

networks received an identical letter from the agency immediately terminating their operative grant




2
 https://www.whitehouse.gov/presidential-actions/2025/03/continuing-the-reduction-of-the-federal-bureaucracy/
[https://perma.cc/J4WD-Q2UU].
3
 The Voice of Radical America, THE WHITE HOUSE (Mar. 15, 2025), https://www.whitehouse.gov/articles/2025/
03/the-voice-of-radical-america/ [https://perma.cc/HL9E-5JBE].
4
 USAGM, Senior Advisor Kari Lake Cancels Obscenely Expensive 15-Year-Lease that Burdened the Taxpayers and
Enforces Trump’s Executive Order to Drastically Downsize Agency, U.S. AGENCY FOR GLOBAL MEDIA (Mar. 15,
2025), https://www.usagm.gov/2025/03/15/u-s-agency-for-global-media-complies-with-presidential-executive-
order-to-reduce-the-federal-bureaucracy/ [https://perma.cc/YQA4-3TVA].
5
 USAGM employs 1,147 full-time employees and, as of March 14, 2025, had active employment contracts with
approximately 598 personal service contractors (PSCs). Thomas Decl. ¶ 3.



                                                       5
                                                                                                                Add. 51
        Case 1:25-cv-01015-RCL                Document 98           Filed 04/22/25         Page 6 of 37




agreements, with no explanation other than the boilerplate language that “[t]he award no longer

effectuates agency priorities” and citing the EO. Compl. ¶ 78. On March 16, 2025 “USAGM

terminated contracts with all [approximately 598] personal services contractors [“PSCs”],” whose

pay was scheduled to end on March 31, 2025. First Thomas Decl. ¶ 6.6 On March 17, 2025,

USAGM instructed “all USAGM Foreign Service employees” to shut down all transmitters at their

respective stations, place locally employed staff on leave, and expect to be placed on administrative

leave themselves within two days. Compl. ¶ 83. On March 25, 2025, USAGM’s HR Director

notified union officials at American Federation of State, County and Municipal Employees, AFL-

CIO (“ASFCME,” a plaintiff in this case) that USAGM intended to “send termination notices” to

29 of USAGM’s 32 radio broadcast technicians (“RBT”)7—and because the three remaining RBTs

had already submitted retirement applications, this move would effectively eliminate all RBTs.

March 26 Letter to the Court, ECF No. 33 at 2. Also on March 25, USAGM’s HR Director sent a

notice to American Federation of Government Employees, AFL-CIO (“AFGE,” also a plaintiff in

this case) conveying USAGM’s decision to terminate 594 AFGE members “including broadcast

journalists, technicians, budget analysts, electronics engineers, and others” within weeks. Id.

         As a result of the defendants’ actions, VOA is not reporting the news for the first time in

its 80-year existence. Its website has not been updated since March 15, 2025, and radio stations

abroad that rely on VOA’s programming have either gone dark or air only music. Compl. ¶ 82.



6
  The defendants represent that on March 28, 2025, all PSCs were reinstated with full pay and benefits but are not
currently working. PI Opp’n at 3 (citing Second Thomas Decl. ¶ 6). This appears to be a direct result of the March
28 TRO in this case. The March 28 TRO, explained in detail infra, enjoined the defendants from “proceeding with
terminating any USAGM [PSC] who received notice after March 14, 2025 that their contract would be terminated,
including but not limited to John Doe 3 and John Doe 4 who received notice that their contracts would be terminated
on March 31, 2025.” See Op. and Order Granting Pls.’ Mot for Temp. Restraining Order (“March 28 TRO”), ECF
No. 54, at 22.
7
  RBTs are essential to carry out broadcasting, as they are required to be on-site 24/7 to broadcast programming, and
“it is not possible to operate VOA without radio engineers.” March 26 Letter to the Court, ECF No. 33 at 2.



                                                         6
                                                                                                                   Add. 52
        Case 1:25-cv-01015-RCL              Document 98           Filed 04/22/25        Page 7 of 37




All VOA employees remain on administrative leave with no indication of returning. Id. ¶¶ 74–75,

85. PSCs face termination of their contracts and those working in the United States with J1 visas

face the possibility of deportation to home countries, in some instances those with authoritarian

regimes that are hostile to a free press. Id. ¶¶ 22–23. USAGM’s FY 2025 grants with the Networks

either remain terminated in the cases of RFA and MBN, or simply lapsed with no other agreement

in place in the case of RFE/RL, and none of these Networks have received their congressionally

appropriated funds for the month of April, forcing them to wind down operations and in some

instances furlough their employees without pay. The status of each Network and their lawsuit in

this Court is detailed below.

        B. Procedural History

        i.       Network Lawsuits

                 a. Radio Free Europe/Radio Liberty, No. 25-cv-799 (RCL)

        RFE/RL began broadcasting in 1953 and has been funded by the United States government

ever since. See No. 25-cv-799 (RCL), 2025 WL 900481, at *1 (D.D.C. Mar. 25, 2025) (providing

an overview of RFE/RL’s history and funding structure). Following the passage of the First and

Second Continuing Resolutions in which Congress renewed RFE/RL’s funding, USAGM

executed grant agreements obligating those funds to RFE/RL through February 28, 2025.8 RFE/RL

v. Lake, No. 25-cv-799 (RCL) (“RFE/RL Docket”), Compl. ¶ 30, ECF No. 1. In late February

2025, RFE/RL and USAGM exchanged drafts of a FY 2025 grant agreement to cover funding

appropriated to RFE/RL through the end of the fiscal year. Id. ¶ 32. On February 27, 2025,


8
  To be clear, under the Second Continuing Resolution, Congress appropriated funds for RFE/RL through March 14,
2025. USAGM did not, however, obligate the March 1–14, 2025, funds— which total approximately $7.5 million—
in the grant agreement. Throughout December 2024, USAGM informed RFE/RL that the reason for not obligating
the funds was a policy of not providing partial-month payments to grantees. RFE/RL v. Lake, No. 25-cv-799, Compl.
¶ 32. The Third Continuing Resolution, signed on March 15, 2025, appropriates funds to RFE/RL from March 15
through September 30, 2025. Id. ¶ 28.



                                                       7
                                                                                                               Add. 53
      Case 1:25-cv-01015-RCL          Document 98       Filed 04/22/25     Page 8 of 37




USAGM sent a final version of the grant agreement to RFE/RL and requested a “signed version

of this Master Grant Agreement at your earliest convenience.” RFE/RL responded with the signed

grant agreement that same day, but USAGM never countersigned. Id.

       On March 15, 2025, RFE/RL received the termination letter from USAGM. RFE/RL filed

its Complaint on March 18 and moved for preliminary injunctive relief the next day—specifically,

RFE/RL sought a TRO for disbursement of funds for the March 1–15 period of performance, and

a PI ordering USAGM to effectuate further grant agreements with RFE/RL to disburse the funds

that Congress had appropriated through September 30, 2025. On March 24, just hours before a

scheduled hearing on the TRO motion, USAGM disbursed RFE/RL’s funds to cover the March 1–

15 grant period, but the Court still granted RFE/RL’s TRO to enjoin the “close-out” procedures

detailed in the termination letter. See RFE/RL, 2025 WL 900481, at *2–5.

       On March 26, the day after the Court issued its TRO, USAGM rescinded the termination

letter. RFE/RL Docket, Notice of Withdrawal of Grant Termination, ECF No. 15. The grant was

therefore “back in effect,” according to USAGM. Id. RFE/RL has now received its funds for all

of March but has not received any funds for April (or the rest of FY 25) because the prior grant

agreement has expired—and as stated supra, the fully negotiated FY 25 grant agreement was never

signed by USAGM. USAGM sent a new proposed FY 25 grant agreement to RFE/RL on April 8,

2025, prompting RFE/RL to file a renewed TRO, which is still pending. RFE/RL Docket, ECF

No. 28. RFE/RL argues in its TRO motion that it will soon be forced to shut down without access

to its April funds and that the proposed FY 25 grant agreement from USAGM is unreasonable and

a pretext for denying RFE/RL its congressional appropriations.




                                               8
                                                                                              Add. 54
        Case 1:25-cv-01015-RCL                Document 98           Filed 04/22/25         Page 9 of 37




                  b. Radio Free Asia, No. 25-cv-907 (RCL) and Middle East Broadcast
                     Networks, No. 25-cv-966 (RCL)

         RFA was established in 1996 and relies entirely on USAGM grants to fund its operations.

Fleming Decl. ¶ 10–11, Radio Free Asia v. United States, No. 25-cv-907 (RCL) (“RFA Docket”),

ECF No. 12-2. As it has every year for the last three decades, RFA entered a master agreement

with USAGM for “FY 2025,” which was scheduled to remain in effect through September 30,

2025. RFA Docket, ECF No. 19-2. Like the other Networks, RFA received a termination letter

on March 15, 2025. RFA Docket, Fleming Decl. Ex. 1.9 RFA filed its Complaint on March 27,

2025, and a motion for a TRO,10 ECF No. 12, the following day. Before this Court acted on the

motion, however, Defendants represented that they believed the grant termination had been

enjoined by the March 28 TRO, issued by Judge Oetken of the Southern District of New York

before the case was transferred to this Court. See Op. and Order Granting Pls.’ Mot for Temp.

Restraining Order (“March 28 TRO”), ECF No. 54, at 22 (enjoining Defendants from “terminating

(or proceeding with terminating as announced) any USAGM grant or contract”). Then, on April

9, 2025, with the TRO still in place, RFA received the funding it was due through the end of

March. RFA Docket, Request for Hearing at 2, ECF No. 14. On April 11, 2025, the Defendants

emailed RFA representatives with a “revision to the RFA FY-25 Master Grant Agreement between

USAGM and RFA,” which Defendants encouraged RFA to sign “in order to expedite the payment




9
 While the termination letter provided RFA the right to appeal its termination, that turned out to be an empty offer.
After RFA “promptly filed an appeal,” USAGM informed them that Defendant Lake “did not intend to respond to its
appeal.” Fleming Decl. ¶ 23.
10
  The TRO motion has since been converted into a PI motion, per agreement from both parties. RFA Docket,
Proposed Order, ECF No. 20-5.



                                                         9
                                                                                                                   Add. 55
       Case 1:25-cv-01015-RCL               Document 98          Filed 04/22/25        Page 10 of 37




process” for their April funding.11 However, the termination of RFA’s grant was never rescinded,

and the termination remains in effect.

        MBN sits in a similar position as RFA. MBN has received funding via grant agreements

with USAGM since its inception in 2004. MBN and USAGM entered into a master grant

agreement for FY 2025, scheduled to remain in effect through September 30, 2025. Def.’s Opp’n.

App’x. C at 3, Middle East Broadcasting Networks, Inc. v. United States of America, No. 25-cv-

966 (RCL) (“MBN Docket”), ECF No. 20-2. Like the other Networks, MBN received the March

15 termination letter,12 filed a Complaint on April 1, 2025, and filed a motion for a PI, ECF No.

11, on April 9, 2025. MBN’s grant remains terminated absent injunctive relief.

        RFA and MBN seek the same relief in their respective PI motions. They ask for the Court

to enter an order enjoining the Defendants “from impounding, blocking, or otherwise interfering

with payment of funds appropriated to Plaintiffs” and “from enforcing or otherwise giving effect

to the termination of Plaintiffs’ grants[.]” RFA Docket, Proposed Order, ECF No.12-4; MBN

Docket, Proposed Order, ECF No. 18-5.

        ii.      The Instant Lawsuit

        The plaintiffs in this lawsuit are Patsy Widakuswara, the VOA White House Bureau Chief;

Jessica Jerreat, the VOA Press Freedom Editor; Kathryn Neeper, the Director of Strategy and

Performance Assessment at USAGM; John Does 1 and 2, journalists at VOA; John Does 3 and 4,

independent freelance journalists working as personal service contractors (PSCs) with VOA;

Reporters Sans Frontières (“RSF”) and Reporters Without Borders, Inc. (“RSF USA”),




11
  It is not clear why Defendants styled the new agreement a “revision” while simultaneously representing that the
FY-25 Master Agreement has been terminated.
12
  Like RFA, MBN appealed the termination of its grant and requested a response by March 31, 2025, but received
none to date. MBN Docket, Kline Decl. ¶ 33, ECF No. 11-3.



                                                       10
                                                                                                               Add. 56
       Case 1:25-cv-01015-RCL              Document 98          Filed 04/22/25        Page 11 of 37




nongovernmental organizations of independent journalists; AFSCME, AFGE, and the American

Foreign Service Association (“AFSA”) (collectively, the “public-sector unions”); and The

NewsGuild-CWA, AFL-CIO (“TNG-CWA”), a labor organization of private sector employees

who work for Radio Free Asia. The plaintiffs filed this lawsuit on March 21, 2025, in the Southern

District of New York against Defendant Kari Lake, Senior Advisor to the Acting CEO of the

USAGM, and Defendant Victor Morales, Acting CEO of USAGM, in their official capacities, as

well as USAGM as an organization (collectively, the “defendants”). Compl., ECF No. 1. The

plaintiffs allege that the defendants’ actions in “dismantling” USAGM violate the plaintiffs’ First

Amendment rights, the APA, the constitutional principle of the separation of powers and the Take

Care Clause, the Appointments Clause,13 congressional appropriations acts, and numerous other

statutory provisions under the International Broadcasting Act and other relevant statues governing

foreign relations and broadcasting. Compl. ¶¶ 2, 102–60.

        On March 24, 2025, the plaintiffs sought emergency relief by filing a motion (styled as a

proposed order to show cause) for a TRO and PI, with an accompanying memorandum in support.

See Proposed Order to Show Cause with Emergency Relief, ECF No. 15; Mem. in Support of

Proposed Order to Show Cause (hereinafter “PI Mot.”), ECF No. 17. On March 28, 2025, Judge

Oetken of the Southern District of New York granted the motion for a TRO, concluding that the

defendants likely violated several provisions of the APA, and ordered as follows:

        Defendants, and those acting in concert with them, are temporarily enjoined from
        taking any further actions to implement or effectuate the March 14, 2025 Executive
        Order entitled “Continuing the Reduction of the Federal Bureaucracy” as to
        USAGM and the March 15, 2025 email issued to all VOA staff, or take any action
        to reduce USAGM’s workforce (whether employees, contractors, or grantees),
        included but not limited to


13
 Plaintiffs did not move for emergency relief based on their Appointments Clause claim (Count IX). PI Reply, ECF
No. 92, at 21 n.8.



                                                      11
                                                                                                              Add. 57
       Case 1:25-cv-01015-RCL                 Document 98           Filed 04/22/25         Page 12 of 37




         (i)      proceeding with any further attempt to terminate, reduce-in-force, place on
                  leave, or furlough any USAGM employee, or contractor,
         (ii)     terminating (or proceeding with terminating as announced) any USAGM
                  grant or contract or proceeding with terminating any USAGM Personal
                  Services Contractors (PSCs) who received notice after March 14, 2025 that
                  their contract would be terminated, including but not limited to John Doe 3
                  and John Doe 4 who received notice that their contracts would be terminated
                  on March 31, 2025, or
         (iii)    closing any USAGM office or requiring employees or contractors in
                  overseas offices to return to the United States.

March 28 TRO at 21–22. The TRO was to remain in place “pending the hearing and determination

of Plaintiffs motion for a preliminary injunction.” Id. at 21. One week later, Judge Oetken granted

the defendants’ motion to transfer to the District of Columbia on April 4, 2025. See Transfer

Order, ECF No. 61. The case was then assigned to the undersigned on April 8, 2025, with the PI

motion still pending. See ECF No. 68.

         On April 8, the defendants moved to vacate the March 28 TRO. Mot. to Vacate, ECF No.

73. The parties suggested that they cross-brief the PI motion alongside the defendants’ motion to

vacate on the same expedited schedule. See ECF Nos. 78, 79. To that end, on April 14, 2025, the

defendants filed an Opposition to the PI Motion (“PI Opp’n”), ECF No. 88, and the plaintiffs filed

an Opposition to the motion to vacate (“Mot. to Vacate Opp’n”), ECF No. 89, that same day. On

April 16, the plaintiffs filed a reply in support of their PI Motion (“PI Reply”), ECF No. 92, and

the defendants filed a reply in support of their Motion to Vacate (“Mot. to Vacate Reply”), ECF

No. 93. The Court held a hearing on Thursday, April 17, 2025, during which counsel for the

plaintiffs here, as well as counsel for the plaintiffs in a related case, Abramowitz v. Lake, 25-cv-

887, and the defendants (which are the same in both cases), all presented argument. The Motion

for a Preliminary Injunction is now ripe for review.14


14
  The Court will refer to and incorporate arguments presented in the Motion to Vacate the TRO given the significant
overlap with the arguments in opposition to the PI, but because the TRO is expires on April 22, 2025 with this Court’s
ruling on the preliminary injunction, see March 28 TRO at 21–22, the Motion to Vacate the TRO is moot.



                                                         12
                                                                                                                    Add. 58
      Case 1:25-cv-01015-RCL              Document 98        Filed 04/22/25       Page 13 of 37




                                  II.     LEGAL STANDARDS

        A. Preliminary Injunction

        A preliminary injunction “is a stopgap measure, generally limited as to time, and intended

to maintain a status quo or ‘to preserve the relative positions of the parties until a trial on the merits

can be held.’” Sherley v. Sebelius, 689 F.3d 776, 781–82 (D.C. Cir. 2012) (quoting Univ. of Tex.

v. Camenisch, 451 U.S. 390, 395 (1981)). It is an “extraordinary remedy that may only be awarded

upon a clear showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 22 (2008). “A plaintiff seeking a preliminary injunction must establish [1] that

he is likely to succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence

of preliminary relief, [3] that the balance of equities tips in his favor, and [4] that an injunction is

in the public interest.” Id. at 20. “Where, as here, the government is a party, the latter two factors

of the preliminary analysis merge into one, because the interest of the government is taken to be

identical to the interest of the public.” RFE/RL, 2025 WL 900481, at *2 (citing Nken v. Holder,

556 U.S. 418, 435 (2009)). Courts in this Circuit have adopted a “sliding scale” approach to the

preliminary relief analysis, “whereby a relatively strong showing on one of these factors may

partially offset weakness in another, although some non-speculative showing of irreparable harm

is essential.” Id. (citing CityFed Fin. Corp. v. Off. of Thrift Supervision, 58 F.3d 738, 747 (D.C.

Cir. 1995)).

                                        III.   DISCUSSION

    A. Plaintiffs Have Sufficiently Shown Standing.

        “[A] party who seeks a preliminary injunction ‘must show a substantial likelihood of

standing.’” Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 913 (D.C. Cir. 2015) (quoting

Obama v. Klayman, 800 F.3d 559, 568 (D.C. Cir. 2015)).                 The defendants argue that the

organizational plaintiffs AFSCME, AFGE, and AFSA (the public-sector unions) and RSF and


                                                   13
                                                                                                        Add. 59
      Case 1:25-cv-01015-RCL           Document 98       Filed 04/22/25      Page 14 of 37




RSF-USA (nongovernmental organizations of independent journalists) have failed to make this

showing. PI Opp’n at 4.

       Membership-based associations can establish standing in one of two ways: they can assert

“associational standing” to sue on behalf of their members, see Hunt v. Wash. State Apple Advert.

Comm’n, 432 U.S. 333, 343 (1977), or “organizational standing” to sue on behalf of themselves,

see People for Ethical Treatment of Animals v. U.S. Dep’t of Agric. (PETA), 797 F.3d 1087, 1093

(D.C. Cir. 2015).    Here, all organizational plaintiffs have asserted both associational and

organizational standing. PI Mot. 34–38. Despite the defendants’ arguments to the contrary, the

Court concludes that all organizational plaintiffs have shown a “substantial likelihood” of both

associational and organizational standing.

       i.      Associational Standing

       To show associational standing, an organization must demonstrate that “(1) at least one of

its members would have standing to sue in his own right, (2) the interests the association seeks to

protect are germane to its purpose, and (3) neither the claim asserted, nor the relief requested

requires that an individual member of the association participate in the lawsuit.” Sierra Club v.

EPA, 292 F.3d 895, 898 (D.C. Cir. 2002). The defendants argue that the union members placed

on administrative leave are not injured because “[a]lthough Plaintiffs fear what may happen next

in the future, this ‘amounts to nothing more than speculation about future events that may or may

not occur,’ especially given [USAGM] remains operational, contrary to what Plaintiffs suggest.”

PI Opp’n at 5 (quoting Mahorner v. Bush, 224 F. Supp. 2d 48, 50 (D.D.C. 2002)). This argument

is easily dispensed with—Defendant Lake has stated that what’s “coming up next” is that the

agency “is going to be decreased in size significantly” because there is “too much rot in the agency




                                                14
                                                                                                  Add. 60
       Case 1:25-cv-01015-RCL                 Document 98            Filed 04/22/25          Page 15 of 37




to salvage it,” Compl. ¶ 89, 15 plainly illustrating that the union members are relying on more than

mere speculation. Moreover, as the plaintiffs point out, this position is “flatly inconsistent with

[the Defendants’] later insistence that the same exact action could be brought before the MSPB as

a prohibited personnel practice.” PI Reply at 4.16 It also does not account for the defendants’

stated decision to terminate over 600 AFGE and AFSCME members, all employees of VOA.

March 26 Letter to the Court, ECF No. 33. Regarding prongs two and three of the associational

standing test (which the defendants do not challenge), it is certainly germane to the unions’ purpose

to defend “the existence of the agency where their members work, or that funds their members’

work,” and “the relief that Plaintiffs seek pertains to Defendants’ wholesale dissolution of

USAGM and does not depend on the individual circumstances of any union member.” PI Mot. at

36. Thus, the Court concludes that the unions have associational standing.17

         ii.      Organizational Standing

         An organization can establish organizational standing “if it can show that the defendant’s

actions cause a ‘concrete and demonstrable injury to the organization’s activities’ that is ‘more

than simply a setback to the organization’s abstract social interests.’” Am. Soc’y for Prevention

of Cruelty to Animals v. Feld Ent., Inc., 659 F.3d 13, 25 (D.C. Cir. 2011) (quoting Havens Realty

Corp. v. Coleman, 455 U.S. 363, 379 (1982)). The organization must satisfy two criteria: (1) the


15
  Citing Bannon’s War Room, “It Is Full of Waste, Fraud, And Abuse.” Kari Lake Reacts To 1,300 Voice Of America
Layoffs, Rumble (Mar. 17, 2025), https://rumble.com/v6qs70g-it-is-full-of-waste-fraud-and-abuse.-kari-lake-reacts-
to-1300-voice-of-amer.html [https://perma.cc/YC6G-KEXK].
16
   To the extent the defendants are arguing that the public-sector union plaintiffs cannot bring suit on behalf of their
members because the members’ claims are channeled to the MSPB, the Court addresses that issue below and resolves
it in the plaintiffs’ favor. See Section II.C, infra.
17
   The defendants do not contest RSF and RSF-USA’s associational standing, see PI Opp’n at 4–5, and the Court is
satisfied that RSF and RSF-USA have met the standard for associational standing at this juncture. See PI Mot. at 35–
36 (“RSF’s members include journalists who travel to dangerous foreign countries where USAGM broadcasts to report
the news. These journalists have been made less safe and seen their mission of promoting free press severely damaged
by the shuttering of USAGM operations. . . . Bringing this lawsuit to defend . . . the continued viability of the
international free press to which they have dedicated their careers, is germane to that purpose.”).



                                                          15
                                                                                                                      Add. 61
       Case 1:25-cv-01015-RCL               Document 98          Filed 04/22/25         Page 16 of 37




defendants’ “action or omission . . . injured the organization’s interest;” and (2) the organization

“used its resources to counteract that harm.” Elec. Priv. Info. Ctr. v. Presidential Advisory

Comm’n on Election Integrity, 878 F.3d 371, 378 (D.C. Cir. 2017) (internal citations and

quotations omitted).

        The defendants argue that the organizational plaintiffs have not identified a “concrete and

demonstrable injury to [their] activities,” but only speculative ones, because “[VOA] has not been

dismantled and [USAGM] remains operational.” PI Opp’n at 6. Of course, as this quote concedes,

VOA itself is not operational, and the Networks are winding down operations. That harm is not

speculative—it is currently unfolding. The defendants’ actions have interfered with the unions’

“core business interests,” injuring their ability to provide representational services to employees

in affected bargaining units.        PI Mot. at 36–37 (quoting Food & Drug Admin. v. All. for

Hippocratic Med., 602 U.S. 367, 395 (2024); see Havens Realty Corp. v. Coleman, 455 U.S. 363,

378-79 (1982). Moreover, the defendants have decided to eliminate an entire AFSCME bargaining

unit and terminate 594 AFGE members, thereby depriving both unions of dues and “existentially

threatening” AFSCME’s RBT unit. See PI Reply at 3–4; Nat’l Treasury Emps. Union v. I.R.S.,

No. 04-cv-0820, 2006 WL 416161, at *2 (D.D.C. Feb. 22, 2006) (loss of dues confers standing).

As for RSF and RSF-USA, VOA “frequently [reports on] RSF’s reports and advocacy efforts,”

meaning that VOA’s silence injured RSF’s ability to distribute its broadcasting and amplify press

freedom concerns. Declaration of Thibaut Bruttin, Director General of RSF (“Bruttin Decl.”), ¶

19, ECF No. 16-15.18




18
   Plaintiffs also allege that RSF and RSF-USA have organizational standing “with respect to their First Amendment
right-to-receive claim.” PI Mot. at 37. However, with the instant PI, the Court does not reach Plaintiffs’ First
Amendment challenges, and will therefore not address this avenue of establishing standing.



                                                       16
                                                                                                                Add. 62
      Case 1:25-cv-01015-RCL          Document 98        Filed 04/22/25     Page 17 of 37




       Regarding the second prong of organizational standing, the plaintiffs’ Complaint, briefing

and accompanying declarations show that the public-sector unions are “expending significant

resources to counteract USAGM’s obstruction of their ability to perform their core services [such

as] advising members about the terms of their employment and the implication of Defendants’

actions.” PI Reply at 3; see Compl. ¶¶ 99–101 (explaining the activities of each union in response

to Defendants actions since March 15, 2025). The Complaint also indicates that RSF and RSF-

USA have used resources to counteract the harm at issue here because “[t]he silencing of VOA . . .

force[s] [RSF and RSF USA] to lose and waste material resources it otherwise would not have

spent and upon which it relies.” Compl. ¶¶ 24, 97. The Court finds these representations sufficient

to show a “substantial likelihood” of organizational standing.

       Notably, nowhere do the defendants argue that TNG-CWA, the other organizational

plaintiff in this case, lacks standing. TNG-CWA represents private sector reporters who work for

RFA and who rely on USAGM programs “including but not limited to RFA.” First Declaration

of Jon Schleuss, President of TNG-CWA ¶ 18, ECF No. 16-16. The defendants’ actions directly

interfere with TNG-CWA’s journalist-members’ ability to access VOA and other USAGM grantee

broadcasts, which provide a “free flow of information, over radio airwaves and online” in countries

where “there is no media freedom.” Id. ¶¶ 15–17. As of March 21, 2025, 75% of TNG-CWA’s

members have been indefinitely furloughed without pay and they stand to lose their medical and

life insurance at the end of April. Second Declaration of Jon Schleuss, President of TNG-CWA,

¶ 18, ECF No. 92-1. Many of TNG-CWA’s members are on nonimmigrant visas and face return

to their home countries where they fear potential retaliation from repressive regimes. Id. ¶ 8. The

Court is satisfied that TNG-CWA has shown a “substantial likelihood” of standing, in addition to




                                                17
                                                                                                 Add. 63
      Case 1:25-cv-01015-RCL            Document 98        Filed 04/22/25      Page 18 of 37




all other organizational plaintiffs, and concludes that the defendants’ challenges to the contrary are

unavailing.

   B. The Court has Jurisdiction over the Plaintiffs’ Claims Regarding the Withholding of
      Congressional Appropriations from Networks.

       As part of their requested relief, the plaintiffs seek to enjoin the defendants from

terminating the grants that Congress directed USAGM to provide to the specified broadcasting

Networks in congressionally appropriated amounts. Proposed PI Order, ECF No. 15 at 2. The

defendants argue that this Court lacks jurisdiction to hear this portion of the dispute, characterizing

it as strictly a contractual in nature, but the Court concludes otherwise.

       In opposing the initial TRO Motion in the Southern District of New York, the defendants

briefly argued that Plaintiffs could not bring that challenge in federal district court because the

Tucker Act barred their claims. See ECF. No. 41 at 20 n.3 (Defendants’ TRO opposition). The

Tucker Act grants exclusive jurisdiction to the Court of Federal Claims over suits based on ‘any

express or implied contract with the United States.’” 28 U.S.C. §1491(a)(1). Judge Oetken,

however, disposed of this challenge quickly. See March 28 TRO at 6 n.5 (“While Plaintiffs have

certainly raised the cancellation of grant contracts as one concerning fact in a constellation of

actions Defendants took to rapidly dismantle USAGM, ‘the mere fact that a court may have to rule

on a contract issue does not, by triggering some mystical metamorphosis, automatically transform

an action . . . into one on the contract and deprive the court of jurisdiction it might otherwise

have.’”) (quoting Megapulse, Inc. v. Lewis, 672 F.2d 959, 968 (D.C. Cir. 1982)).

       To challenge that conclusion here, the defendants rely on the intervening Supreme Court

emergency-docket order, Department of Education v. California, 145 S. Ct. 966 (2025) (per

curiam), arguing that it “clarifies” that the plaintiffs’ claims regarding USAGM’s termination of

grants cannot be heard in this Court. Mot. to Vacate at 6; PI Opp’n at 33–34. That argument fails.



                                                  18
                                                                                                     Add. 64
      Case 1:25-cv-01015-RCL           Document 98        Filed 04/22/25       Page 19 of 37




       In California, grantees of the Department of Education sued under the APA to challenge

the termination of their grants. 145 S. Ct. at 968. The grantees relied on relevant statutory

provisions that directed the Secretary of Education to “use certain funds to make grants to entities,”

which were awarded pursuant to a “competitive application process.” California v. U.S. Dep’t of

Educ., 132 F.4th 92, 95 (1st Cir. 2025). The district court entered a TRO, enjoining the government

from terminating the grants and requiring the government to pay out grant obligations to those

plaintiffs who had applied for and received a grant award. California v. U.S. Dep’t of Educ., No.

25-cv-10548-MJJ, 2025 WL 760825, at *5 (D. Mass. Mar. 10, 2025). The Supreme Court stayed

the TRO because the Court found it “likely” that the district court lacked jurisdiction to issue such

relief. California, 145 S. Ct. at 968. In so ruling, the Court reiterated that the APA’s waiver of

sovereign immunity “does not extend to orders to enforce a contractual obligation to pay money,”

and that, instead, “suits based on ‘any express or implied contract with the United States’” must

go to the Court of Federal Claims under the Tucker Act. Id.

       But California does not change the conclusion in the March 28 TRO, because California

does not change the governing law. It was true before California, and it remains true now, that

“[w]hether a claim is ‘at its essence’ contractual for the Tucker Act ‘depends both on the source

of the rights upon which the plaintiff bases its claims, and upon the type of relief sought (or

appropriate).’” Crowley Gov’t Servs., Inc. v. Gen. Servs. Admin., 38 F.4th 1099, 1106 (D.C. Cir.

2022) (quoting Megapulse, 672 F.2d at 968). In California, the source of the rights relied on by

the plaintiffs were contained in the grant agreements—the relevant statute did not entitle any

particular grantee to the funds. Here, by contrast, the source of the Networks’ rights is not rooted

in the grant agreements with USAGM—grants are involved only as a vehicle to distribute

congressionally appropriated funds to the Networks because Congress passed laws directing




                                                 19
                                                                                                    Add. 65
      Case 1:25-cv-01015-RCL           Document 98        Filed 04/22/25      Page 20 of 37




USAGM to provide grants to specific grantees, and appropriated funds for those grantees

specifically. See, e.g., 22 U.S.C. §§ 6204(a)(5), (6), 6207(f), 6208 (International Broadcasting

Act); Pub. L. No. 119-4, div. A, § 1101 (2025) (Congressional Appropriations Act).

       The D.C. Circuit has cautioned that the Tucker Act should not be interpreted “so broad[ly]

as to deny a court jurisdiction to consider a claim that is validly based on grounds other than a

contractual relationship with the government,” Megapulse, 672 F.2d at 968, and a claim of

entitlement to congressional appropriations is certainly one over which the Court can exercise

jurisdiction. See Md. Dep’t of Hum. Res. v. Dep’t. of Health and Hum. Servs., 763 F.2d 1441,

1446 (D.C. Cir. 1985) (“[Plaintiff] is seeking funds to which a statute allegedly entitles it, rather

than money in compensation for the losses, whatever they may be, that [Plaintiff] will suffer or

has suffered by virtue of the withholding of those funds.”); Nat’l Ctr. for Mfg. Scis. v. United

States, 114 F.3d 196, 200 (Fed. Cir. 1997) (“[Plaintiff’s] demand for the release of the remaining

funds referred to in the Appropriations Act is not a demand for ‘money damages.’”). Therefore,

the Court has jurisdiction to review the defendants’ termination of congressionally appropriated

funds to the Networks.

   C. The Court Has Jurisdiction Over Plaintiffs’ Claims Regarding the Defendants’
      Personnel Actions.

       The defendants argue that the Court lacks jurisdiction to enjoin USAGM’s personnel

actions as to individual plaintiff employees because the Federal Service Labor–Management

Relations Statute (“FSL-MRS”), the Civil Service Reform Act (“CSRA”), and the Foreign Service

Act (“FSA”) govern review of employment disputes between the federal government and its

employees, thereby channeling claims to either the Merit Systems Protection Board (“MSPB”) for

employment disputes, the Federal Labor Relations Authority for labor disputes, or the Office of

Special Counsel (“OSC”) for certain “prohibited personnel practices.” PI Opp’n at 8–14; Mot to



                                                 20
                                                                                                   Add. 66
       Case 1:25-cv-01015-RCL                 Document 98            Filed 04/22/25          Page 21 of 37




Vacate at 7–8. And as stated supra, “[t]he APA’s waiver of sovereign immunity does not apply

‘if any other statute that grants consent to suit expressly or impliedly forbids the relief which is

sought.’” California, 145 S. Ct. at 968 (quoting 5 U.S.C. § 702). At the outset, the Court observes

that this purported jurisdictional bar would only apply to the individual plaintiffs employed by

USAGM (Patsy Widakuswara, Jessica Jarreat, Kathryn Neeper, and Does 1 and 2), and the public-

sector unions purporting to represent terminated employees via associational standing (AFSCME,

AFGE, and AFSA), but RSF and RSF-USA, TNG-CWA, and John Does 3 and 4 (PSCs of VOA)19

are not implicated as non-governmental entities and contractors.20 In any event, the Court finds

that the individual government employee plaintiffs are not barred from challenging the dismantling

of USAGM because this case is not simply a collection of employment disputes.

         Defendants rely primarily on AFSA v. Trump, No. 25-cv-352 (CJN), 2025 WL 573762

(D.D.C. Feb. 21, 2025), to argue that Plaintiffs claims should be channeled to the federal

administrative employment dispute process. In AFSA, two unions representing USAID employees

sought to enjoin the dismantling of USAID, effectuated in part by the placement of employees on

administrative leave. The court denied the plaintiffs’ motion for a PI, concluding that the

plaintiffs’ claims were “archetypal complaints about changed employment conditions and their


19
  The defendants argue that because John Does 3 and 4 are PSCs, their claims are governed by the Contract Disputes
Act (CDA) and must be heard in the Court of Federal Claims. PI Opp’n at 7, 14–19. The relevant inquiry under the
CDA is identical to that under the Tucker Act: “whether, despite the presence of a contract, plaintiffs’ claims are
founded only on a contract, or whether they stem from a statute or the Constitution.” Transohio Sav. Bank v. Dir.,
Off. of Thrift Supervision, 967 F.2d 598, 609 (D.C. Cir. 1992) (emphasis added); see Ingersoll-Rand Co. v. United
States, 780 F.2d 74, 76 (D.C. Cir. 1985) (applying the Tucker Act inquiry to determine whether a claim falls under
the CDA). Here, as with the other individual plaintiffs, the “source of the rights” Does 3 and 4 rely upon do not derive
from any contracts, but rather, upon various constitutional and statutory rights that USAGM has allegedly violated.
20
   It is also the case that the public-sector unions’ assertion of organizational standing is not implicated by this
jurisdictional bar, because in that capacity, the unions are suing on their own behalf, not that of their members.
However, the unions “have not demonstrated that any hindrance to their mission as a result of those challenged actions
belongs to the category of ‘great’ harms that could warrant a preliminary injunction.” AFSA v. Trump, No. 25-cv-352
(CJN), 2025 WL 573762, at *7 n.3 (D.D.C. Feb. 21, 2025). Thus, though the public-sector unions have asserted
organizational standing, their allegations of organizational harm (i.e. loss of dues and diminished bargaining power,
see PI Mot. at 30–31) are not strong enough to warrant preliminary relief.



                                                          21
                                                                                                                      Add. 67
       Case 1:25-cv-01015-RCL                   Document 98            Filed 04/22/25           Page 22 of 37




follow-on effects—which at this point appear to be largely financial.” Id. at *7. In so holding, the

court noted that “it may be the case that, at a high level of generality and in the long run, plaintiffs’

assertions of harm could flow from their constitutional and APA claims regarding the alleged

unlawful ‘dismantl[ing]’ of USAID,” but found that “at present, the agency is still standing,” so

the employees’ allegations boiled down to a quotidian employment dispute that fell within the

statutory schemes of the FSL-MRS, CSRA, and FSA. Id. at *7, 11. Here, such a conclusion would

ignore the facts on the record and on the ground. It strains credulity to conclude the USAGM is

“still standing” when its 80-year-old flagship news service, VOA, has gone completely dark with

no signs of returning, when USAGM has stopped the disbursement of funds to statutorily created,

congressionally funded networks, and when USAGM leadership has called the agency “not

salvageable” and “a giant rot from top to bottom.”21 It appears to this Court that USAGM has

already reached the breaking point about which the ASFA court opined. The Court therefore

concludes that this is not simply an employment dispute, and it has jurisdiction to hear the

plaintiffs’ claims. 22




21
  Moreover, to the degree that the defendants argue that the agency still functions—albeit as a skeletal version of its
former self—that is due in no small part to the successive bouts of injunctive relief (the March 28 TRO and this Court’s
TRO in RFE/RL), each of which has been necessary to keep USAGM afloat.
22
   The Court has also considered the framework in Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207–13 (1994), to
arrive at this conclusion. Under Thunder Basin, a district court lacks jurisdiction over a dispute when the intent for
exclusive review is “(i) fairly discernible in the statutory scheme, and (ii) the litigant’s claims are of the type Congress
intended to be reviewed within [the] statutory structure.” See id. at 755 (citations omitted). Claims that otherwise
would be covered by the federal employment statutory scheme may instead proceed in federal district court if “‘a
finding of preclusion could foreclose all meaningful judicial review’; if the suit is ‘wholly collateral to a statute’s
review provisions’; and if the claims are ‘outside the agency’s expertise.’” Free Enter. Fund v. Pub. Co. Acct.
Oversight Bd., 561 U.S. 477, 489 (2010) (quoting Thunder Basin, 510 U.S. at 212–13). Such considerations favor the
Court’s review here. There is no meaningful review available from the MSPB and OSC for the wholesale placement
of employees on administrative leave and the silencing VOA. For example, even if Plaintiff Widakuswara took her
leave placement to the MSPB and was ultimately reinstated, she would return to an empty agency with no
infrastructure to carry out VOA’s programming. And the MSPB and OSC have no jurisdiction to review the
cancelation of congressional appropriations. This case “raise[s] ‘standard questions of administrative’ and
constitutional law, detached from” any issues related to federal employment. Axon Enterprise, Inc. v. FTC, 598 U.S.
175, 194 (quoting Free Enter. Fund, 561 U.S. at 491). Therefore, the Court has jurisdiction to hear this dispute.



                                                            22
                                                                                                                          Add. 68
       Case 1:25-cv-01015-RCL          Document 98        Filed 04/22/25       Page 23 of 37




    D. PI Factor 1: Likelihood of Success on the Merits

        i.     APA

        The APA permits judicial review of “circumscribed, discrete agency actions.” Norton v.

S. Utah Wilderness All., 542 U.S. 55, 62 (2004). The defendants argue that the plaintiffs do not

seek review of a “discrete” agency action, because they seek review of the dismantling of USAGM

across the board, by challenging a host of individual actions. Therefore, granting the plaintiffs’

requested relief, the defendants argue, “would require the Court to supervise all the agency’s

activities and determine how the agency would accomplish each statutorily-mandated function.”

PI Opp’n at 31.

        The Court is not persuaded by this argument. The “discrete” requirement does not mean

that if an agency takes a slew of actions quickly, the Court loses its ability to review each of them

under the APA. The Court must, of course, review whether agency actions contravene the

agency’s statutorily mandated duties, even if there are a lot of actions at issue. The plaintiffs here

have identified the series of actions taken by USAGM since March 15, detailed in Section I.A,

supra, which are under review here.

        The APA also only permits judicial review of “final agency action.” To constitute final

agency action: (1) “the action must mark the consummation of the agency’s decisionmaking

process” and (2) it “must be one by which rights or obligations have been determined, or from

which legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177–78 (1997). Courts “are

to apply the finality requirement in a ‘flexible’ and ‘pragmatic’ way.” Ciba-Geigy Corp. v.

U.S.E.P.A., 801 F.2d 430, 435 (D.C. Cir. 1986); U.S. Army Corps of Eng’rs v. Hawkes Co., 578

U.S. 590, 599 (2016) (noting the “‘pragmatic’ approach [the Supreme Court] ha[s] long taken to

finality”).




                                                 23
                                                                                                    Add. 69
      Case 1:25-cv-01015-RCL           Document 98        Filed 04/22/25      Page 24 of 37




       As Judge Oetken concluded in granting the TRO, the defendants’ actions constitute final

agency actions. See March 28 TRO at 7 (“The termination of contracts with partner organizations

and the dismantling of critical infrastructure leading to the complete halt of agency programming

are final agency actions.”) (citing Biden v. Texas, 597 U.S. 785, 807 (2022)). And although a

“closer call,” Judge Oetken concluded that this applied to the mass placement of USAGM

employees on administrative leave, particularly given USAGM’s stated intent to fire over 600

VOA employees in the AFSCME and AFGE bargaining units and public statements from USAGM

acting leadership that the agency is “irretrievably broken” and “a giant rot from top to bottom.”

Id. at 8. The defendants hardly challenge this conclusion now, only mentioning finality in a

footnote, where they argue that the actions are not final because of “the operations that are ongoing

and the fact that [USAGM] has only paused other activities while it determines next steps to bring

the agency into compliance with the Executive Order . . . .” PI Opp’n at 31 n.5. But this argument

is unconvincing because final does not mean permanent—just because USAGM maintains the

ability to reverse these actions at some unidentified point in the future, that does not change the

fact that the agency has made decisions, communicated them to their employees, contractors, and

grantees, and thereby altered their rights and obligations. See Ciba-Geigy Corp., 801 F.2d at 436

(an “indicia of finality” is if the agency action causes a “direct and immediate . . . effect on the

day-to-day business of the parties challenging the action”) (internal quotations omitted). The

agency actions at issue—blanket placement of employees on administrative leave, termination of

entire bargaining units of employees, termination of PSCs, and cancellation of grants dispensing




                                                 24
                                                                                                   Add. 70
       Case 1:25-cv-01015-RCL                 Document 98           Filed 04/22/25          Page 25 of 37




congressionally appropriated funds—are, with one exception,23 discrete, final agency actions

subject to judicial review.

            a. Arbitrary and Capricious, 5 U.S.C. § 706(2)(A)

         The APA provides that a “reviewing court shall . . . hold unlawful and set aside agency

action, findings, and conclusions found to be . . . arbitrary and capricious, an abuse of discretion,

or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). An agency acts arbitrarily and

capriciously when it fails to “supply a reasoned analysis” for a change in policy. Motor Vehicle

Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 42 (1983). To constitute

“reasoned analysis,” the agency “must examine the relevant data and articulate a satisfactory

explanation for its action including a rational connection between the facts found and the choice

made.” Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221 (2016) (quoting State Farm, 463

U.S. at 43). Thus, “where the agency has failed to provide even that minimal level of analysis, its

action is arbitrary and capricious and so cannot carry the force of law.” Id.

         Not only is there an absence of “reasoned analysis” from the defendants; there is an absence

of any analysis whatsoever. The EO states that only “non-statutory components and functions” of

USAGM be eliminated “to the maximum extent consistent with applicable law,” 90 Fed. Reg.

13043 (Mar. 14, 2025), but the defendants have provided no indication that an analysis was

undertaken to determine which aspects of USAGM are statutorily required and which are not. In



23
   The termination of RFE/RL’s grant, one of the agency actions at issue here, sits in a different posture rendering it
not a “final” agency action. The initial termination of RFE/RL’s grant was rescinded by USAGM, and then that grant
lapsed, with no grant in place to cover the period of FY 2025 from March 15 to September 30—because the previously
negotiated grant agreement for FY 2025, signed by RFE/RL in February 2025, was never signed by USAGM. See
Section I.B.i.a, supra. RFE/RL and USAGM are presently engaged in grant negotiations for the remainder of FY
2025, though RFE/RL has a pending TRO motion arguing that certain grant provisions proposed by USAGM are
“poison pills” or otherwise illegal. RFE/RL v. Lake, 25-cv-799, Mot. for TRO, ECF No. 28. Nonetheless, at this
juncture, in the midst of negotiations, court intervention would be premature. However, the Court observes that
delayed, broken down grant negotiations and indefinite withholding of congressionally appropriated funds, with a
statutorily created entity on the brink of collapse, creates a scenario begging for APA review.



                                                         25
                                                                                                                     Add. 71
       Case 1:25-cv-01015-RCL                 Document 98           Filed 04/22/25          Page 26 of 37




opposing the initial TRO in the Southern District of New York, the defendants only gave one line

of reasoning for their actions since March 15, 2025: that they were acting “[i]n furtherance of the

OPM Memorandum24 and the [EO].” See ECF. No. 41 at 9. This lack of analysis formed the basis

of the March 28 TRO, in which the court held that the defendants’ actions were arbitrary and

capricious. March 28 TRO at 9 (“This single line, devoid of data or any independent explanation,

is grossly insufficient and falls far short of reasoned analysis.”).

         The defendants have offered no further analysis since. In their briefing before this Court,

they do not even use the words “arbitrary” or “capricious” anywhere, even though the central

holding of the TRO was that the defendants’ actions were arbitrary and capricious. The defendants

have also offered no further explanation for the termination of the Network grants, other than the

one sentence contained in each termination letter: that the grant “no longer effectuates agency

priorities.” Compl. ¶ 78. And at this Court’s PI hearing, the defendants opted not to argue the

merits of the arbitrary and capricious challenge despite being given several opportunities to do so.

Tr. of Apr. 17 Hearing, 67:3–9 (“We don’t even get to the arbitrary and capricious because there

is no final agency decision yet.”); see also Tr. of Apr. 17 Hearing, 82: 17–18. The defendants

solely relied on their threshold, jurisdictional arguments, which this Court has resolved in the

plaintiffs’ favor supra.

         Rather than argue that their actions are not arbitrary and capricious, the defendants simply

state that USAGM is currently in the process of figuring out how to comply with the EO. Tr. of

Apr. 17 Hearing, 45:14–15 (“Right now, the agency is determining how it will best go about


24
  The Office of Personnel Management memorandum, or “OPM Memorandum,” refers to the memorandum issued
on Jan 20, 2025, and amended on March 4, 2025, titled “Guidance on Probationary Periods, Administrative Leave and
Details,” available at https://www.opm.gov/media/yh3bv2fs/guidance-on-probationary-periods-administrative-leave-
and-details-1-20-2025-final.pdf. The memorandum provides that federal agencies “have the discretion to grant paid
administrative leave to employees to help manage their workforces when it is in their best interest to do so.” See ECF.
No. 41 at 9.



                                                         26
                                                                                                                     Add. 72
       Case 1:25-cv-01015-RCL                Document 98           Filed 04/22/25         Page 27 of 37




complying with [the EO].”; see also PI Opp’n at 43 (USAGM “has placed its employees on

administrative leave temporarily to determine how to bring the agency into compliance with the

Executive Order”). But that necessarily means that the defendants took the actions at issue here

without any “reasoned analysis” as to what was “statutorily required” under the EO and what was

not. State Farm, 463 U.S. at 43. And the actions taken reflect a hasty, indiscriminate approach:

for example, the Networks received the termination letters on the exact same day that President

Trump signed the Third Continuing Resolution appropriating line-item funds to the Networks

through the end of the fiscal year.             Certainly, disbursing congressional appropriations are

statutorily required, and the agency axed them the very same day they were enacted.

        Furthermore, the defendants failed to account for any reliance interests, contributing to this

Court’s conclusion that their actions were arbitrary and capricious. “When an agency changes

course, as [USAGM] did here, it must ‘be cognizant that longstanding policies may have

engendered serious reliance interests that must be taken into account.’” Dep’t of Homeland Sec.

v. Regents of the Univ. of Cal., 591 U.S. 1, 30 (2020) (quoting Encino Motorcars, 579 U.S. at 212).

VOA has been operating under statutory mandate and with steady congressional appropriations

for over eighty years, and in so doing, has cultivated an audience of 425 million listeners who rely

on VOA’s output—particularly in areas of the world where a free press is otherwise unavailable.

The Networks have contributed to U.S. international broadcasting by almost exclusively relying

on their yearly congressional appropriations, which have been uninterrupted for decades before

March 15, 2025. There is no sign that the defendants considered these longstanding reliance

interests before taking the sweeping actions at issue here.25


25
  Though the Court declines to reach the First Amendment claims at issue, the defendants’ attempts to argue that they
are not engaging in viewpoint discrimination ironically serve to highlight their arbitrary and capricious approach to
whittling down the agency. They argue that these Plaintiffs’ First Amendment rights are not implicated here because



                                                         27
                                                                                                                   Add. 73
       Case 1:25-cv-01015-RCL                 Document 98           Filed 04/22/25         Page 28 of 37




         In short, the defendants had no method or approach towards shutting down USAGM that

this Court can discern. They took immediate and drastic action to slash USAGM, without

considering its statutorily or constitutionally required functions as required by the plain language

of the EO, and without regard to the harm inflicted on employees, contractors, journalists, and

media consumers around the world. It is hard to fathom a more straightforward display of arbitrary

and capricious actions than the Defendants’ actions here.

            b. “Not in Accordance with the Law,” 5 U.S.C. § 706(2)(A)

         The defendants have also likely violated the APA because their actions are “not in

accordance with law.” 5 U.S.C. 706(2)(A). This rule applies to actions that “failed to meet

statutory, procedural, or constitutional requirements.” Citizens to Pres. Overton Park, Inc. v.

Volpe, 401 U.S. 402, 414 (1971). The Court adopts the conclusions from the March 28 TRO and

reproduces a sampling of the likely statutory and constitutional violations by the defendants below.

                  1. International Broadcasting Act and the Congressional Appropriations Acts

         The defendants are likely in direct violation of numerous federal laws. For one, VOA’s

congressionally established charter in the International Broadcasting Act states that VOA “will

serve as a consistently reliable and authoritative source of news [that is] accurate, objective, and

comprehensive,” 22 U.S.C. § 6202(c), but the defendants have silenced VOA for the first time

ever. The International Broadcasting Act further states that U.S. international broadcasting “shall

. . . be designed so as to effectively reach a significant audience,” and “include news which is



they have halted all journalism at VOA and grantee broadcasters, and not “singled out any one viewpoint.” PI Opp’n
at 24. Because the defendants have eliminated the agency’s functions across the board, the argument seems to go,
there is no viewpoint discrimination. For one, the Court finds this argument troubling—it cannot be the case that by
shutting down all content at an agency, which current leadership has deemed “radical” and “so far to the left,” Compl.
¶ 90, the defendants have avoided any First Amendment transgressions. But moreover, even if the defendants were
not motivated by viewpoint (which this Court finds dubious, see Tr. of Apr. 17 Hearing, 22:19–21), their stance
acknowledges that their actions have effectively shut down the agency wholesale, and they have not offered any
“reasoned analysis” for doing so.



                                                         28
                                                                                                                    Add. 74
      Case 1:25-cv-01015-RCL           Document 98        Filed 04/22/25       Page 29 of 37




consistently reliable and authoritative, accurate, objective, and comprehensive.”          22 U.S.C.

§ 6202(a), (b). But as of now, it appears that the only operational unit of USAGM is the Office of

Cuba Broadcasting, and there is no indication that this office of thirty-three individuals can fulfill

USAGM’s broad statutory mandate by itself.

       Finally, the defendants’ decision to cut all grant funding to the Networks directly violates

congressional appropriations laws. “[A] President sometimes has policy reasons . . . for wanting

to spend less than the full amount appropriated by Congress for a particular project or program.

But in those circumstances, even the President does not have unilateral authority to refuse to spend

the funds. Instead, the President must propose the rescission of funds, and Congress then may

decide whether to approve a rescission bill.” In re Aiken County, 725 F.3d 255, 261 n.1 (D.C. Cir.

2013) (Kavanaugh, J.). As explained supra, USAGM may to some extent reprogram funds among

different programs, but any such reprogramming efforts may only reduce funding for a program

by five percent or less of what Congress designated—certainly, no law gives the agency the power

to cut funding to the drastic degree that is alleged. Additionally, USAGM may only reprogram if

it gives the House and Senate Appropriations Committees fifteen days’ advance notice, which has

not happened here.

       The Court therefore concludes that the defendants are likely contravening the APA by

acting “not in accordance” with several International Broadcasting Act provisions and

congressional appropriations acts.

               2. Take Care Clause and Separation of Powers Principles

       “Under the Constitution, the President must ‘take care that the laws be faithfully executed,’

U.S. Const. art. II, § 3, across the entire Executive Branch—including ‘independent’ agencies.”

Eng. v. Trump, 279 F. Supp. 3d 307, 327 (D.D.C. 2018). And because federal agencies are




                                                 29
                                                                                                    Add. 75
      Case 1:25-cv-01015-RCL          Document 98        Filed 04/22/25     Page 30 of 37




“creatures of statute,” and “the Take Care Clause cannot be used to bypass agencies’ limited status

as creatures of statute, ‘possess[ing] only the authority that Congress has provided them.’” Marin

Audubon Soc’y v. Fed. Aviation Admin., 121 F.4th 902, 914 (D.C. Cir. 2024) (quoting Nat’l Fed’n

of Indep. Bus. v. OSHA, 595 U.S. 109, 117 (2022)). By violating the International Broadcasting

Act and the relevant congressional appropriations acts, the defendants likely contravene the Take

Care Clause. See March 28 TRO at 12 (“Withholding congressionally appropriated funds, and

effectively shuttering a congressionally created agency simply cannot be construed as following

through on [the] constitutional mandate [of the Take Care Clause].”).

        “Related to Plaintiffs’ Take Care Clause claim is their argument that Defendants’ actions

violate the separation of powers implicit in our constitutional design.” March 28 TRO at 12. The

power to make law resides exclusively with the legislative branch, U.S. CONST. art. I, § 1, and the

executive branch may not ‘enact, [] amend, or [] repeal statutes.’” Clinton v. City of New York,

524 U.S. 417, 438 (1998). Specifically, the Court highlights again here that the defendants’

unwillingness to expend funds in accordance with the congressional appropriations laws is a direct

affront to the power of the legislative branch. Congress possesses the “power of the purse,” which

is “the ultimate check on the . . . power of the Executive.” U.S. House of Representatives v.

Burwell, 130 F. Supp. 3d 53, 76 (D.D.C. 2015). Here, the defendants’ termination of grants to the

Networks and shutting down VOA “potentially run roughshod over a ‘bulwark of the Constitution’

by interfering with Congress’s appropriation of federal funds.” Nat’l Council of Nonprofits v. Off.

of Mgmt. & Budget, No. 25-cv-239 (LLA), 2025 WL 368852, at *12 (D.D.C. Feb. 3, 2025)

(quoting U.S. Dep’t of Navy v. Fed. Lab. Rels. Auth., 665 F.3d 1339, 1347 (D.C. Cir. 2012)).




                                                30
                                                                                                 Add. 76
       Case 1:25-cv-01015-RCL               Document 98           Filed 04/22/25         Page 31 of 37




                 c. “Unlawfully Withheld or Unreasonably Delayed,” 5 U.S.C. § 706(1)

        The APA also provides that a reviewing court “shall” “compel agency action unlawfully

withheld or unreasonably delayed[.]” 5 U.S.C. § 706(1). This type of APA claim arises “where a

plaintiff asserts that an agency failed to take a discrete agency action that it is required to take.”

Norton, 542 U.S. at 64 (emphases in original). Here, it is likely that the defendants have also

violated section 706(1) of the APA by unlawfully withholding the international broadcasting

programming and grants that USAGM is statutorily required to provide. At the PI hearing, in

response to the Court’s inquiry regarding the withholding of appropriated funds and the need for

recission, the defendants argued that such concerns are not ripe for adjudication. Tr. of Apr. 17

Hearing, 79:18–19, 80:12–14. Of course, this argument ignores the fact that, but for the March 28

TRO, the grants to RFA and MBN are currently terminated by the letters from USAGM. And the

defendants have not provided any indication that the $260 million in VOA appropriations is being

spent to fulfill its statutory mandate to provide a “consistently reliable” source of news. 22 U.S.C.

§ 6202(c). Indeed, at the PI hearing, defense counsel declined to make any representation

regarding the planned use of VOA’s earmarked funds, while VOA remains silent indefinitely. Tr.

of Apr. 17 Hearing, 81:18–82:5. These facts suggest that Defendants are “unlawfully withholding”

or “unreasonably delaying” required agency action to fund the Networks and carry out

international broadcasting mandated by Congress, in violation of Section 706(1) of the APA.26

     E. PI Factor 2: Irreparable Harm

        To qualify as irreparable harm, the injuries alleged “must be both certain and great,” “actual

and not theoretical,” and “of such imminence that there is a ‘clear and present’ need for equitable




26
   Because the Court finds that the plaintiffs have demonstrated a likelihood of success on the merits of their APA
claims, the Court will not reach the plaintiffs’ First Amendment claims. See Compl. ¶¶ 102–116.



                                                        31
                                                                                                                 Add. 77
      Case 1:25-cv-01015-RCL           Document 98        Filed 04/22/25      Page 32 of 37




relief.” Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006)

(quoting Wis. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985) (per curiam)). Here, the

showing of irreparable harm that formed the basis of the March 28 TRO remains compelling. See

March 28 TRO at 16 (“The dismantling of USAGM would clearly cause employees, contractors,

and grantees irreparable harm. And Plaintiffs have offered sufficient evidence that Defendants are

doing just that.”). The defendants have already placed a total of “[a]pproximately 1,300 VOA

journalists and other employees” on administrative leave, furloughed others, and stated that over

600 more employees will be terminated within weeks. Compl. ¶¶ 75, 80; March 26 Letter to the

Court, ECF No. 33 at 2. “[O]bstacles [that] unquestionably make it more difficult for the [plaintiff]

to accomplish [its] primary mission . . . provide injury for purposes . . . [of] irreparable harm.”

League of Women Voters of the U.S. v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016).

       The defendants argue that the plaintiffs “fundamentally complain of adverse employment

actions . . . that can be remedied by money damages at the end of the litigation.” PI Opp’n at 42.

While the defendants are correct that “ordinary economic injuries are usually insufficient to require

injunctive relief,” Wis. Gas, 758 F.2d at 674, it is also true that “financial harm can ‘constitute

irreparable harm . . . where the loss threatens the very existence of the movant’s business,’”

Climate United Fund v. Citibank, N.A., No. 25-cv-698 (TSC), 2025 WL 842360, at *10 (D.D.C.

Mar. 18, 2025) (quoting Wis. Gas, 758 F.2d at 674). The defendants have silenced VOA, canceled

funds to affiliate Networks, and shut down all transmitters at foreign service stations abroad.

Compl. ¶¶ 78–83. “[T]hese furloughs and lay-offs entail the dismantling of human infrastructure

required to run USAGM, VOA, and USAGM’s grantees.” March 28 TRO at 17. “[S]hutting down

necessary systems, laying off personnel, and terminating contracts, even ones that might be able

to be eventually reinstated, halt agency function in the short term and threaten the efficacy of the




                                                 32
                                                                                                   Add. 78
      Case 1:25-cv-01015-RCL          Document 98        Filed 04/22/25     Page 33 of 37




agency in the long-term. . . . In short, these harms cannot be remedied with mere money damages.”

Id.

       The Court also concludes that the harm to Does 3 and 4, foreign nationals working as PSCs

with VOA, from the looming loss of their J-1 visas constitutes irreparable harm. In opposing the

March 28 TRO, the defendants argued that the revocation of these J-1 visas is not irreparable harm

because it merely forces them to leave the country “earlier than scheduled.” March 28 TRO at 19

(quoting Defs.’ TRO Opp’n at 13). The court dispensed with that argument then, and the Court

adopts the same reasoning here: the immediate termination of John Does 3 and 4’s contracts and

visas is “not merely speeding up the inevitable” because the hastiness of the defendants’ actions

eliminates the notice that Does 3 and 4 would otherwise have “to find a new job to sponsor a

subsequent visa, or to apply for another kind of visa to stay in the country.” March 28 TRO at 19–

20. The defendants’ actions virtually ensure that Does 3 and 4 will be subject to deportation

immediately.

       The defendants do not appear to challenge the plaintiffs’ showing of irreparable harm to

RSF plaintiffs who rely on VOA while living and reporting abroad, or the harm to TNG-CWA

(labor organization of RFA employees). The Court finds these allegations of irreparable harm

compelling as well. See Brunnit Decl. ¶ 6 (offering testimony of irreparable harm to RSF Plaintiffs

because the shutdown of VOA “depriv[es] correspondents of a trustworthy source of news” in

countries “where VOA is one of the few, if not the only, sources of independent and reliable news,”

and impedes RSF’s ability to “dissemina[te] vital public interest information for journalists and

public safety . . . .”); Second Schleuss Decl. ¶¶ 4–6 (testifying that TNG-CWA members will lose

their health insurance as soon as May 1 and describing the medical consequences of such a result,

and testifying that TNG-CWA members with H1-B visas face “deport[ation] to their home




                                                33
                                                                                                 Add. 79
      Case 1:25-cv-01015-RCL             Document 98       Filed 04/22/25      Page 34 of 37




countries where they could face threats, harassment, or imprisonment for their work as journalists”

as a result of their furlough status).

        In sum, the irreparable harm that the plaintiffs allege impacts the very existence of

USAGM, the health and safety of its journalists and employees, and the interests of the millions

of reporters and listeners who depend on USAGM’s programming. For all of these reasons, the

Court concludes that the plaintiffs’ have demonstrated irreparable harm warranting the issuance of

a preliminary injunction.

    F. PI Factors 3 and 4: Balance of Equities and Public Interest

        These final PI factors “merge when the government is the opposing party.” Am. Ass’n of

Pol. Consultants v. U.S. Small Bus. Admin., 613 F. Supp. 3d 360, 365 (D.D.C. 2020) (quoting

Nken, 556 U.S. at 435, 129 S.Ct. 1749). “[C]ourts must balance the competing claims of injury

and must consider the effect on each party of the granting or withholding of the requested relief[,]

. . . pay[ing] particular regard for the public consequences” that would result in granting the

emergency relief sought. Winter, 555 U.S. at 24 (quotation marks omitted). Here, as noted in the

March 28 TRO, while the plaintiffs “have put forward a laundry list of injuries” that would occur

absent injunctive relief, the defendants only seem to assert that injunctive relief would disrupt their

ability to comply with the EO. March 28 TRO at 20. However, the defendants are apparently still

in the process of determining how to comply with the EO. In doing so, they have likely violated

it by reducing USAGM’s activities to levels far below the constitutional and statutory minimums.

Therefore, there is no competing harm to the government with the issuance of preliminary relief

that orders compliance with governing statutes and the Constitution, while “[t]here is a substantial

public interest ‘in having governmental agencies abide by the federal laws that govern their

existence and operations.’” Newby, 838 F.3d at 12 (citation omitted). Moreover, Congress has




                                                  34
                                                                                                     Add. 80
      Case 1:25-cv-01015-RCL            Document 98        Filed 04/22/25      Page 35 of 37




“enshrined into law that ‘[i]t is in the interest of the United States to support broadcasting to other

nations.’” RFE/RL, Inc. v. Lake, 2025 WL 900481, at *4 (quoting 22 U.S.C. § 6201(3)). It is,

therefore, Congress’s “longstanding determination” that international broadcasting activities,

which the defendants have eliminated, are in the public interest. Id. The Court therefore concludes

that these final PI factors weigh in favor of a preliminary injunction.

   G. The Court will Not Impose Bond.

       Under Federal Rule of Civil Procedure 65(c), a Court may require a party to post bond for

“costs and damages sustained” by the defendants if they are later found to “have been wrongfully

enjoined.” Fed. R. Civ. P. 65(c). A district court’s failure to require the posting of a bond has

been held reversible error in some Circuits, while others have found reversible error only when the

district court failed to expressly consider the question of requiring a bond. Charles Alan Wright

& Arthur R. Miller, 11A Fed. Prac. & Proc. Civ. § 2954 (3d ed. April 2025).

       The Court has considered the question of whether to impose bond and declines to do so,

following the practice of other courts in this Circuit faced with a similar posture. “A bond ‘is not

necessary where requiring [one] would have the effect of denying the plaintiffs their right to

judicial review of administrative action.’” Nat’l Council of Nonprofits, 2025 WL 597959, at *19

(quoting Nat. Res. Def. Council, Inc. v. Morton, 337 F. Supp. 167, 168 (D.D.C. 1971)). Such a

situation arises where a bond would “hold Plaintiffs hostage” for the harm from the government’s

unlawful withholding of “previously committed funds.”             Id. (noting that defendants “will

personally face no monetary injury from the injunction”). That is squarely the case here, where

the defendants are already constitutionally required to distribute funds in accordance with the

yearly appropriations bill, so a bond would merely impose a financial barrier to litigation for

plaintiffs seeking to vindicate their statutory and constitutional rights. In cases such as this one




                                                  35
                                                                                                     Add. 81
      Case 1:25-cv-01015-RCL           Document 98         Filed 04/22/25      Page 36 of 37




where funds are committed by Congress for specific programs, “public policy mandate[s] that

parties . . . adversely affected by improper administration of programs . . . be strongly encouraged

to correct such errors.” Wright & Miller, 11A Fed. Prac. & Proc. Civ. § 2954 (quoting Bass v.

Richardson, 338 F. Supp. 478, 491 (S.D.N.Y. 1971)). To that end, the Court will not impose bond.

                                    IV.     CONCLUSION

          For the foregoing reasons, the plaintiffs’ Motion for a Preliminary Injunction will be

GRANTED as follows: The Court will preliminarily enjoin the defendants, pending further order

of this Court, to 1) take all necessary steps to return USAGM employees and contractors to their

status prior to the March 14, 2025 Executive Order 14238, “Continuing the Reduction of the

Federal Bureaucracy,” including by restoring all USAGM employees and personal service

contractors, who were placed on leave or terminated, to their status prior to March 14, 2025, 2)

restore the FY 2025 grants with USAGM Networks Radio Free Asia and Middle East Broadcasting

Networks such that international USAGM outlets can “provide news which is consistently reliable

and authoritative, accurate, objective, and comprehensive,” 22 U.S.C. § 6202(a), (b), and to that

end, provide monthly status reports on the first day of each month apprising the Court of the status

of the defendants’ compliance with this Order, including documentation sufficient to show the

disbursement to RFA and MBN of the funds Congress appropriated, and 3) restore VOA

programming such that USAGM fulfills its statutory mandate that VOA “serve as a consistently

reliable and authoritative source of news,” 22 U.S.C. § 6202(c). The Court will DENY the Motion

for a Preliminary Injunction, at this time, as it relates to RFE/RL and OTF, in light of their current

status.




                                                 36
                                                                                                    Add. 82
Case 1:25-cv-01015-RCL   Document 98   Filed 04/22/25   Page 37 of 37




                                                                        Add. 83
Case 1:25-cv-01015-RCL   Document 99   Filed 04/22/25   Page 1 of 2




                                                                      Add. 84
Case 1:25-cv-01015-RCL   Document 99   Filed 04/22/25   Page 2 of 2




                                                                      Add. 85
      Case 1:25-cv-00966-RCL           Document 17-1           Filed 04/11/25   Page 2 of 3



                             INTERNATIONAL FISHERIES COMMISSIONS

       The agreement includes $65,719,000 for International Fisheries Commissions. Funds .
appropriated under this heading are allocated according to the following table:


                     INTERNATIONAL FISHERIES COMMISSIONS
                         [Budget authority in thousands of dollars]

                                                                                   Budget
                            Commission/Activity
                                                                                  Authority

   Great Lakes Fishery Commission                                                      50,000
        Lake Champlain and Lake Memphremagog Basins                                    10,000
        Grass Carp                                                                      1,000
        Lake Memphremagog Fishery                                                         500
   Inter-American Tropical Tuna Commission                                              1,750
   Pacific Salmon Commission                                                            5,868
   International Pacific Halibut Commission                                             4,582
   Other Marine Conservation Organizations                                              3,519
   Total                                                                               65,719


                                      RELATED AGENCY
                          UNITED ST ATES AGENCY FOR GLOBAL MEDIA

                           INTERNATIONAL BROADCASTING OPERATIONS

       The agreement includes $857,214,000 for International Broadcasting Operations, of
which $42,861,000 may remain available until September 30, 2025. Funds appropriated under
this heading are allocated according to the following table:


                  INTERNATIONAL BROADCASTING OPERATIO NS
                        [Budget authority in thousands of dollars]
                                                                                   Budget
                               Entities/Grantees
                                                                                  Authority

   Federal Entities
       Mission Support                                                               225,640
            Office of Technology, Services, and Innovation                           174,440
       Office of Cuba Broadcasting                                                    25,000
       Voice of America                                                              260,032
   Subtotal                                                                          510,672


                                                14

                                                                                                Add. 86
      Case 1:25-cv-00966-RCL           Document 17-1        Filed 04/11/25     Page 3 of 3




   Independent Grantee Organizations
       Radio Free Europe/Radio Liberty                                                142,212
       Radio Free Asia                                                                 60,830
       Middle East Broadcasting Networks                                              100,000
       Open Technology Fund                                                            43,500
   Subtotal                                                                           346,542
   Total                                                                              857,214


       Consultation-Not less than 30 days prior to the submission of the operating plan
required by section 7062(a) of the Act for funds appropriated or otherwise made available under
this heading, the United States Agency for Global Media (USA GM) Chief Executive Officer
(CEO) shall consult with the Committees on Appropriations on the allocation of funding by
entity and the use of the 2023 Language Service Review (LSR) and other information to inform
agency operations. The operating plan shall also clearly identify resources allocated in fiscal year
2024 for the new headquarters building.
       Language Service Review.-Not later than 60 days after the date of enactment of the Act,
the USAGM CEO shall submit a report to the Committees on Appropriations detailing the
process and outcome of the 2023 LSR and the status of implementation of strategies for language
services following the 2022 LSR.
       Mission Support.-The agreement updates the name of "International Broadcasting
Bureau" in the above table to "Mission Support", consistent with the December 2023
congressional notification to the Committees on Appropriations.
       Networks.-The USA GM CEO is directed to use the expertise of Office of Cuba
Broadcasting to inform programming about Cuba by other USAGM networks.
       New Headquarters Building.-Not later than 90 days after the date of enactment of the
Act, the USAGM CEO shall submit a report to the Committees on Appropriations detailing
updated plans for the new headquarters relocation, including timelines and estimated costs.
       Open Technology Fund.-Funds made available for the Open Technology Fund should
be made available for grants for innovative methods to reach audiences inside of Cuba. Not later
than 45 days after the date of enactment of the Act, the USAGM CEO shall consult with the
Committees on Appropriations on such grants.



                                                15

                                                                                                  Add. 87
USCA Case #25-5150         Document #2113206               Filed: 04/28/2025       Page 38 of 84



                 Second Supplemental Declaration of Kevin W. Fleming

        1.    I am the Chief Operating Officer (COO) of Radio Free Asia (RFA). I make
the statements in this declaration based on my personal knowledge and information gained
in the performance of my duties as COO.

       2.      This declaration supplements my March 28 and April 16, 2025, declarations
with an updated snapshot of RFA's current finances.

        3.     In my April 16 declaration, I explained that RFA had furloughed 250
employees (78% of its U.S.-based staff); that RFA had stopped accepting work from
stringers around the world; and that RFA had terminated or suspended 95% of independent
contractor agreements for domestic and international freelance journalists.

       4.      Since then, RFA's situation has grown more dire.

       5.      In addition to the actions listed above, we have now suspended 100% of
temporary staff and 20% of international staff. Those measures were necessary in order to
conserve funds so that RFA could continue to pay out money associated with employment
terminations, like accrued leave. RFA continues to try to protect its staff during this difficult
time.

       6.      As a result of the measures described above, RFA has been unable to generate
content and programming on air and online as it previously did. Due to RFA's drastically
reduced staffing levels, there has been no new content produced from multiple editorial
divisions. Currently, radio programming has been reduced by approximately 89%. RFA
now broadcasts just seven hours per week. Online, RFA's written content is down by 48%
and its video content is down by 60%. The impact on programming will become only more
pronounced in the coming weeks, with four additional language services expected to go dark
in May, as RFA continues to preserve as much cash as possible.

      7.      In my April 16 declaration, I explained that RFA had $12 million cash on
hand. That figure is now $10 million.

        8.      Based on our funds, I initially projected that RFA would have enough money
to stay afloat through May 16, 2025. Since then, RFA made the decision to retain certain key
staff members who are visa holders for as long as possible. RFA also calculated that in order
to pay for health insurance for all furloughed staff, and cover some critical operational costs,
it would need to move ahead with layoffs one week earlier than planned. RFA now expects
that it does not have enough funds to get through May 9, 2025, absent extreme measures.

      9.      On May 9, 2025, RFA will be forced to lay off the approximately 340 people it
employs in the United States and abroad. That is 90% of the entire organization.




                                                1
                                                                                                Add. 88
USCA Case #25-5150         Document #2113206               Filed: 04/28/2025        Page 39 of 84



        10.    After May 9, RFA will exist in name only. There will be even fewer staff left,
even more minimal broadcasting, and RFA likely will be looking at bankruptcy in late
summer 2025. Even before then, however, it will default on its bills and certain employee-
related obligations.

       11.   On April 18, 2025, RFA wrote to USAGM's Chief Financial Officer to follow
up on RFA's April drawdown request. RFA specifically noted that its "April funding
drawdown request remains pending." RFA reminded USAGM that USAGM's March 15,
2025 "termination" of RFA's grant had been enjoined, and that its current grant agreement
(which USAGM signed on January 16, 2025) therefore was operative.

        12.     On April 24, 2025, RFA wrote to the USAGM Chief Financial Officer to note
again that its fully executed grant agreement from January "is operative" and that "RFA is
still waiting for disbursement of its April funds and is preparing to submit its May drawdown
request in the coming days."

       13.    RFA specifically asked the USAGM Chief Financial Officer when USAGM
"intend[ed] to disburse April funds."

       14.    To date, RFA has not received its April funds, which ordinarily it would have
received within the first week of April. It is now nearly May, and RFA is running on fumes.

      15.     For the reasons I previously explaine d, if May 9, passes without RFA's
funding restored, it will be extremely difficult if not impossible for RFA to ever again
resume its work, given the reputational and network impacts previously explained.

       16.     As I previously explained, certainty of funding is critical to RFA's operation
and financial management. At the outset of the fiscal year, RFA creates an annual budget
and financial plan by month based on the total annual appropriation amount.

       17.    RFA can function only if it receives its funding at regular, predictable
intervals. RFA's entire structure relies on timely disbursements-it does not have vast
reserves of money to keep it afloat during periods of indefinite delay.

        18.    RFA's conservative fiscal manageme nt and the steps outlined above have
allowed it to survive at reduced operating levels despite not receiving its April funding, but it
will not be able to survive for much longer. Already the organization has suffered
irreparable harm. After May 9, 2025, the organization will effectively cease to exist as it once
did.

       I declare under penalty of perjury that the foregoing is true and correct.

                  27
       Dated this ___ day of April, 2025.




                                                2
                                                                                                Add. 89
USCA Case #25-5150   Document #2113206        Filed: 04/28/2025        Page 40 of 84




                                                   g (Apr 27, 2025 18:11 EDT)
                                         _____________________________
                                         Kevin W. Fleming
                                         Chief Operating Officer
                                         Radio Free Asia




                                   3
                                                                                 Add. 90
USCA Case #25-5150         Document #2113206             Filed: 04/28/2025      Page 58 of 84


                  Second Supplemental Declaration of Deirdre Kline

      1.     I am the Chief Operating Officer (COO) of Middle East Broadcasting
Networks, Inc. (MBN). I make the statements in this declaration based on my personal
knowledge and information gained in the performance of my duties as COO.

      2.     This declaration supplements my April 9 and April 16, 2025 declarations with
an updated snapshot of MBN's current finances.

        3.     In my April 16 declaration, I explained that MBN furloughed more than 95%
of its domestic staff for a period of two weeks beginning on March 23, 2025. I also
explained that on April 12, 2025-when MBN still had not received its April funds (or any
indication of when they might be disbursed)-M BN was forced to terminate the
employment of 514 people, more than 90% of its entire organization.

        4.     Because MBN did not have sufficient funds to pay out earned annual leave,
severance, and other end-of-service benefits, people who worked at MBN for decades, and
relied on those benefits, were left with nothing.

       5.      In my April 16 declaration, I stated that fewer than 45 people remain
employed at MBN. By May 2, that number will be 36 because MBN will be forced to make
additional cuts. At the start of this litigation, MBN employed more than 500 people,
including more than 380 in the United States.

       6.     In my previous declaration, I indicated that MBN had approximately $4.3
million cash on hand. By May 2, that figure will be approximately $2.5 million.

       7.     Since I submitted my previous declarations, MBN has informed the State
Department that nearly all ofMBN's employees on a visa program have been terminated.
Former employees who worked at MBN pursuant to visas must leave the United States
within 30 days. At MBN, these former employees include one person who has stage four
cancer and another who is eight months pregnant. Others have had to pull their children
out of school and leave their lives behind to go back to their home countries.

       8.    On April 18, 2025, MBN wrote to USAGM's Chief Financial Officer to
follow up on MBN's April drawdown request. MBN specifically noted that its "April
funding drawdown request remains pending." MBN reminded USAGM that USAGM's
March 15, 2025 "termination" of MBN's grant had been enjoined, and that its current grant
agreement (which USAGM signed on February 27, 2025) therefore was operative.

       9.     On April 24, 2025, MBN wrote to the USA GM Chief Financial Officer to
note again that its fully executed grant agreement from February "is operative" and that
"MBN is still waiting for disbursement of its April funds and is preparing to submit its May
drawdown request in the coming days."



                                              1

                                                                                               Add. 91
USCA Case #25-5150          Document #2113206              Filed: 04/28/2025        Page 59 of 84


        10.     MBN specifically asked the USAGM Chief Financial Officer when USA GM
 "intend[ed] to disburse April funds."

       11.    To date, MBN has not received its April funds, which it historically has
received within the first week of the month.

        12.     MBN currently exists as a shell of its former self. It can further extend its
extinction only by taking steps like declaring bankruptcy, ending all content production
(already drastically reduced), and laying off its remaining staff.

       13.    The skeleton staff is still working, many with reduced pay, and like their
former colleagues, they will end their time at MBN without severance or annual leave
payouts. These employees will also be ineligible to continue their health insurance coverage
pursuant to the Consolidated Omnibus Budget Reconciliation Act, or COBRA, because
without funding, MBN will be forced to cancel its healthcare insurance plan.

        14.    MBN is delinquent on its leases in Springfield, Virginia, in Washington, D.C.,
and in Dubai and has been forced to cut back broadcasting, as described in my April 16
declaration. Without access to its annual appropriation, MBN's payments to vendors are
also late. Soon, MBN's creditors will no doubt seek to recoup their funds, and MBN will
almost certainly be forced into bankruptcy.

      15.     IfMBN's congressionally appropriated funding does not reach MBN before
May 31, 2025, the organization will cease to exist except on paper.

        16.    It will be impossible for MBN ever again to resume its work; its reputation as
a faithful employer, trusted news source, and robust independent organization is in tatters.

        17.   Certainty of funding is critical to MBN's operation and financial management.
At the outset of the fiscal year, MBN creates an annual budget and month-by-m onth
financial plan-both premised on the total of its annual appropriation.

        18.   MBN can function only if it receives its funding at regular, predictable
intervals. MBN's entire structure relies on timely disbursemen ts-it does not have vast
reserves of money to keep it afloat during periods of indefinite delay.

        19.    As of April 28, 2025, it will have been two months since MBN received any of
its congressional annual appropriation from USAGM.

       20.     The drastic steps that MBN has taken, outlined above and in my previous
declarations, have allowed it to survive despite not receiving its April funding, but it cannot
survive past May 31, 2025.

       I declare under penalty of perjury that the foregoing is true and correct.




                                               2
                                                                                                  Add. 92
USCA Case #25-5150       Document #2113206          Filed: 04/28/2025    Page 60 of 84


    Dated this 2.1 day of April, 2025.




                                             Deirdre Kline
                                             Chief Operating Officer,
                                             Middle East Broadcasting Networks, Inc.




                                         3

                                                                                       Add. 93
